Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 1 of 97 PageID 5576




                              EXHIBIT F
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 2 of 97 PageID 5577




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

   KIMBERLY NGUYEN, on behalf of
   herself and all others similarly situated,

          Plaintiff,

   v.                                              Case No. 8:20-cv-195-CEH-AAS

   RAYMOND JAMES & ASSOCIATES, INC.,

          Defendant.

   _____________________________________/


                       DECLARATION OF JOSEPH J. THOMAS

          Pursuant to 28 U.S.C. § 1746, the undersigned declares as follows:

          1.     My name is Joseph J. Thomas and I am over 21 years of age and

   competent to testify to the statements set forth in this declaration.

          2.     I am currently a Director at Bates Group LLC. I was retained on behalf

   of defendant Raymond James & Associates, Inc. (“RJA”) to render opinions and

   testimony as an expert in this case. I have previously submitted two reports in this

   matter: Expert Report of Joseph J. Thomas dated June 4, 2021 (copy attached hereto

   as Exhibit 1) (“Expert Report”), and Rebuttal Expert Report of Joseph J. Thomas

   dated June 25, 2021 (copy attached hereto as Exhibit 2) (“Rebuttal Report”). I was

   asked by counsel to review the Plaintiff’s Motion for Class Certification and
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 3 of 97 PageID 5578




   Memorandum of Law in Support dated July 20, 2021 (“Class Certification Motion”)

   in connection with issues addressed in my Expert Report and Rebuttal Report,

   including a review of the liability test and damages model proposed by Plaintiff’s

   alleged expert Douglas J. Schulz (“Schulz”). 1

         3.     The statements set forth in this declaration are based upon my personal

   knowledge and my review of the materials identified in my Expert Report and my

   Rebuttal Report, or cited in this declaration.

         Suitability

         4.     “Suitability” was the securities industry standard before 2020, set by

   FINRA and approved by the SEC, with which a financial advisor had to comply when

   recommending an investment to a client.

         5.     Neither FINRA Rule 2111, which sets forth the suitability rule, nor any

   other FINRA or SEC rule, nor any securities law or regulation, contains any language

   that references any type of arbitrary mathematical formula to determine suitability.

   There is no support in securities industry laws, regulations, rules, standards, custom,

   or practice, whatsoever, for the proposition that a financial advisor may not

   recommend as suitable a managed account (that is, a fee-based advisory account like

   the Freedom Account, managed by an investment committee or other professional

   portfolio management team) if the client would fund the account from a commission-

   based brokerage account (“commission account”) that has a .5% “annualized cost”


   1
    See Report of Douglas J. Schulz re Class Certification ¶¶ 148-155, dated June 4,
   2021 (“Schulz Report”).

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 4 of 97 PageID 5579




   and a turnover of less than .25%. Plaintiff’s witness Douglas Schulz has created this

   standard, without any basis or cited support.

         6.     Suitability in the securities industry is determined on an individual,

   client-by-client basis and requires that the financial advisor have a reasonable basis for

   a recommendation based on that customer’s unique investment profile. Suitability of

   a new investment, including type of account, cannot be determined in accord with

   securities industry laws, regulations, rules, standards, custom, or practice, solely by

   looking at “annualized cost” and turnover (which is the amount of trading) in the

   account that would fund the new investment. Rule 2111 does not require a financial

   advisor to put on blinders and view just the account that is the source of funds for the

   investment under consideration, and in fact requires an advisor to review a customer’s

   entire “investment profile,” including “other investments.”

         7.     The reasonable basis for a suitability recommendation is evaluated and

   determined as of the time of the recommendation and depends on the unique

   circumstances of each individual client.

         8.       The financial advisor’s knowledge of his or her client and professional

   training are the primary components in evaluating the basis for a recommendation of

   suitability. Metrics, such as “annualized cost” and turnover, may be helpful in

   assisting a financial advisor in determining suitability. But relying on metrics alone or

   even as a primary determinant of suitability of an investment does not incorporate the

   client-specific information known to the financial advisor in making a suitability




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 5 of 97 PageID 5580




   determination, and could therefore result in the recommended investment being

   unsuitable for a client.

          9.      There are no FINRA Rules, and no other securities industry laws,

   regulations, rules, standards, custom, or practice (during the time at issue in this case,

   or now) that required any type of specific metric analysis be conducted in order to

   recommend that a client liquidate assets in a commission account to open a managed

   account.

          10.     The suitability determination outlined in FINRA Rule 2111 is

   individual in nature and does not (and indeed cannot) rely on a mathematical

   algorithm alone. To evaluate whether a suitability review was done across this

   putative class would require an account-by-account and, truly, a client-by-client

   review.

          11.    The suitability standard is only triggered if a financial advisor makes a

   recommendation. Thus, if a client reaches an investment decision without receiving

   a recommendation from the financial advisor, that decision does not trigger the

   suitability standard or any other obligation on behalf of the financial advisor (except

   the financial advisor’s duty to make reasonable efforts to execute the client’s

   investment instruction, which is not implicated in this case). None of the data relied

   upon by Plaintiff’s purported experts identifies whether any Freedom Account

   included in that data was opened because the client requested the Freedom Account

   or because the financial advisor recommended it.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 6 of 97 PageID 5581




          Documentation

          12.    There was no securities industry law, rule, regulation, standard, custom,

   or practice during the 2015-2018 period that required a financial advisor to create and

   maintain a specific, documented analysis of the reasonable basis for his or her

   recommendation that a transaction or investment strategy involving securities was

   suitable.

          13.    Nonetheless, RJA’s financial advisors had several options to document

   their suitability analyses.   These included new account records, financial plans,

   investment policy questionnaires, recorded contact management notes, and various

   forms of correspondence with and between each customer and financial advisor.

   Suitability information was collected as part of the new account information forms

   and was retained in the books and records of RJA in accordance with FINRA

   recordkeeping requirements.      In the case of Ms. Nguyen, there were contact

   management notes, detailed Financial Plan analysis reviews, portfolio reviews, and

   memorialized communications between the financial advisor and the client.

          14.    Compliance with the suitability obligation does not depend on whether

   and how the determination was documented, but on whether a reasonable

   determination was made by the financial advisor that the investment was suitable. In

   other words, if a recommendation was suitable, it was suitable regardless of whether

   the financial advisor documented the information that they considered in reaching that

   conclusion.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 7 of 97 PageID 5582




         15.    Ms. Nguyen’s financial advisor conducted a suitability analysis,

   including as to account type, before recommending the Freedom Account at issue to

   Ms. Nguyen, and his recommendation for her to open that account is supported by a

   reasonable basis. Ms. Nguyen’s financial advisor testified to this suitability analysis

   as to account type at his deposition, and, even though supporting documentation is

   not necessary, here the documentation supports the suitability analysis in the form of

   the financial plan that he created for her immediately before his recommendation and

   in the form of the account opening paperwork that collected suitability information.

         16.    To determine compliance with the suitability obligation across the entire

   putative class, would require, at least (i) a review of the specific account

   documentation records for each potential class member, and (ii) speaking to or

   deposing each client and financial advisor to determine (at a minimum) (a) whether a

   recommendation was actually made, which is a threshold requirement for the

   application of the suitability rule, and (b) the reasonable basis for the recommendation

   as to the specific financial circumstances applicable to each purported class member as

   of the time the recommendation was made.

         Account Type

         17.    The determination of suitability in the 2015-18 period — when Ms.

   Nguyen was a customer of RJA — was not commonly interpreted in industry

   standards, custom, and practice to apply to recommendations as to account type.

         18.    During the 2015-2018 time frame, securities industry laws, rules,

   regulations, standards, custom, and practice required a financial advisor to make a

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 8 of 97 PageID 5583




   suitability determination before making a recommendation for the purchase or sale of

   a security, or undertaking an investment strategy involving a security or securities, and

   did not specifically require such an analysis as to “account type.”

         19.    RJA nonetheless had policies and procedures in place during the relevant

   period, and in particular as to suitability, that required the financial advisor to conduct

   a suitability analysis before recommending that a client open a Freedom Account.

         Damages

         20.    A damages model that attempts to project or “annualize” commissions

   from a commission account, on one set of securities, and then subtracts those from

   actual fees charged in a managed account (a fee-based advisory account, like

   Freedom), applied on a different set of securities, is not a “common formula” that has

   any acceptance under industry rules, standards, custom, or practice. I could find no

   publication or industry rule, standard, or practice endorsing this theory of damages.

         21.    Such a damages model also eliminates even the possibility of assigning

   value to the services provided by RJA through its Asset Management Services

   (“AMS”) division (which were not generally provided in commission accounts), to

   clients within the Freedom Program. It also eliminates the possibility of assigning

   value to any of the services, such as financial planning, that any of the financial

   advisors for the tens of thousands of alleged class members may or may not have

   provided as part of the client opening and maintaining a Freedom Account.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 9 of 97 PageID 5584
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 10 of 97 PageID 5585




                              EXHIBIT 1
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 11 of 97 PageID 5586
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   KIMBERLY NGUYEN, On Behalf of
   Herself and All Others Similarly Situated,

          Plaintiff,

   v.                                                  Case No. 8:20-cv-195-CEH-AAS

   RAYMOND JAMES & ASSOCIATES, INC.,

          Defendant.

   _____________________________________




                          EXPERT REPORT OF JOSEPH J. THOMAS



                                             June 4, 2021
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 12 of 97 PageID 5587
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                                             Qualifications

   My background and qualifications are found on my Curriculum Vitae, attached hereto as Exhibit
   A. My testimony history from the past four years is found on a document entitled “Trial,
   Arbitration, and Deposition Testimony,” attached hereto as Exhibit B.

   Since 1988, I have been actively involved in the financial and securities industry with particular
   emphasis and expertise in branch management, compliance matters, supervision issues, and
   account analysis. I have served as a Registered Branch Manager for sales supervision responsible
   for regional supervision with Edward Jones, as an Operations professional with Edward Jones, and
   as a Vice President with A.G. Edwards and Sons Law Department/Wachovia Securities/Wells
   Fargo Legal Division as a Finance Manager and Litigation Auditor. I have also consulted on
   organizational structure and supervision related to various types of brokerage models. I have held
   supervisory and principal licenses since 1994 and general securities licenses since 1993, and I have
   been involved in all facets of a regional broker-dealer and wirehouse in my career.

   I am currently a Director with Bates Group LLC, a full-service financial consulting firm. The
   group to which I belong specializes in litigation support pertaining to securities and related
   financial matters. I have been with Bates since 2011. I have been involved in development and
   presentation of complex account analyses, suitability analysis and issues related to sales
   supervision, and issues presented in this matter.

   In my capacity as a consultant and expert witness in the financial arena for the past 10 years, I
   have used my background in sales supervision, brokerage operations, and my association with
   other financial professionals to form expert opinions regarding the securities industry. I have
   remained familiar with all laws, regulations, customs, and practices in the industry.

                                             Compensation

   I am being compensated by Raymond James & Associates, Inc. (“Raymond James”), at the rate of
   $450 per hour. The work performed by my staff in reviewing documents and assisting me in
   preparing the analysis is billed at rates ranging from $130 to $370 per hour. My compensation
   and the compensation of the Bates Group are in no way dependent on the content of my and/or the



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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 13 of 97 PageID 5588
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   Bates Group’s analysis, the content of this report, my opinions, or the outcome of these
   proceedings.

                                           Materials Reviewed

   Materials that I have reviewed are contained in Exhibit C that follows.

                                               Assignment

   I have been asked by counsel for Raymond James to provide opinions on the concept of suitability
   and industry standards, custom, and practice in making investment recommendations, as to the
   allegations in the operative complaint. This includes my opinion as to a financial advisor’s
   recommendation for a client to open a Freedom Account and, once open, the firm’s responsibilities
   with respect to the client’s maintaining such an account. Additionally, I was asked to opine on
   Ms. Nguyen’s claims particular to herself and assess whether recommendations made to her were
   suitable and otherwise consistent with industry standards, custom, and practice, and standards as
   to the financial advisor and the firm. I was also asked to opine on whether the circumstances
   relative to the inquiry just described were individualized or whether the evaluation as to suitability
   of an account-type recommendation, both before and after the initial recommendation, can be
   conducted in regard to a purported class of potentially tens of thousands of Raymond James clients
   on a class-wide basis.

   I was asked to assess the characteristics that might cause an account to have minimal trading
   activity and what impact this might have on the suitability analysis on such an account, in light of
   Plaintiff’s allegations. I was asked to assess, in light of the allegations of the operative complaint,
   the policies, procedures and supervision at Raymond James and how they were carried out relative
   to the standards, custom, and practice in the financial services industry at the time Ms. Nguyen
   maintained accounts at Raymond James.

                                          Summary of Opinions

      1. Raymond James Conducted Suitability Analyses in Connection with Its Recommendations
         to Plaintiff

      2. Raymond James’s Suitability Analyses Complied with All Applicable Rules, Regulations
         and Industry Standards


                                                     3
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 14 of 97 PageID 5589
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         3. Raymond James—Which Made an Assessment of the Suitability of the Freedom Account
            for Plaintiff—Did Not Unilaterally “Transfer” Plaintiff from a Commission-Based
            Account to a Fee-Based Account

         4. Raymond James Conducted an Appropriate Suitability Analysis with Respect to the Type
            of Fee-Based Account that Raymond James Recommended to Plaintiff

         5. The Freedom Account Provided Plaintiff with Discretionary Account Management
            Services and Benefits that Were Not Available to Her in a Commission-Based Account

         6. Plaintiff Received Value for the Fees that She Contractually Agreed to Pay to Invest in the
            Freedom Program

         7. Raymond James Had Industry-Standard Policies and Procedures in Place to Ensure
            Compliance with Regulatory Requirements

         8. Suitability Determinations Cannot Be Made on a Class-Wide Basis Because They
            Necessarily Require Assessments of Each Client’s Individual Circumstances, Objectives,
            and Risk Tolerances, and the Facts Pertaining to Plaintiff are Not Common to the
            Individual Suitability Analyses that Must Be Performed for Each Purported Class Member

         9. Plaintiff—Who Opened Four Fee-Based Discretionary Accounts at Three Different
            Broker-Dealers—is Not Typical of the Class She Seeks to Represent

         10. Damages Cannot Be Determined on a Class-Wide Basis Inasmuch as Every Raymond
             James Client’s Financial Circumstances Are Individual and Unique

              Overview of Pertinent Allegations in Plaintiff’s Second Amended Complaint

   The operative complaint has alleged that Raymond James failed to conduct any suitability review
   and failed to adhere to FINRA rules related to such reviews both before making recommendations
   to customers to open Freedom Accounts and after those customers opened Freedom Accounts. 1

   The complaint also alleges that Raymond James did not have processes, procedures, and a
   supervisory structure in place to comply with FINRA rules, with respect to the above. 2




   1
       Second Amended Class Action Complaint (“SAC”), para. 1,7,9.
   2
       SAC, para. 10.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 15 of 97 PageID 5590
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                       Overview of Pertinent Federal Securities Regulatory Structure

   A. Broker-Dealers and Investment Advisers Are Separately Regulated and Subject to
      Different Federal Regulatory Regimes

   The U.S. Securities and Exchange Commission (“SEC”) and the Financial Industry Regulatory
   Authority (“FINRA”) play important, but different, roles in regulating Investment Advisers (“IAs”
   or “Advisers”) and Broker-Dealers (“BDs” or “Brokers”). IAs are generally subject to the
   Investment Advisers Act of 1940 and are regulated by the SEC. 3 BDs are primarily subject to the
   Securities Exchange Act of 1934, among other laws, and regulation by the SEC and FINRA, and
   other self-regulatory organizations. In practice, however, the SEC has “observed that the lines
   between full-service Brokers and Advisers have blurred. Advisers and Brokers, for example,
   provide investment advice both on an episodic and on an ongoing basis.” 4 As a result, the SEC
   has repeatedly expressed concern that “specific regulatory obligations depend on the statute under
   which a financial intermediary is registered instead of the services provided.” 5

   In general, IAs owe fiduciary duties to their clients. FINRA does not have jurisdiction over IAs.
   FINRA does have jurisdiction over BDs, and BDs are subject to a “suitability” standard under
   FINRA Rule 2111 when making recommendations and suitability is assessed as of the time of the
   recommendation.

   During the period that Plaintiff had accounts with Raymond James in the 2015 to 2018 timeframe,
   the regulators at the SEC and at FINRA were grappling with how to reconcile the different
   standards applicable to IAs and BDs in view of the fact that many BDs were “dual registrants,”
   i.e., also registered as IAs. In 2013, for example, the SEC sought comment on “the benefits and
   costs that could result from various alternative approaches regarding the standards of conduct and




   3
    Registration with the SEC generally is required if an Adviser (1) manages more than $100 million in customer assets,
   (2) advises certain funds or business development companies, or (3) works in a state that does not register Advisers.
   17 C.F.R. § 275.203A-1 (2011). All other Advisers are either subject to state registration systems that have
   requirements similar to the Advisers Act, or exempt from both regimes, though the exemptions currently available are
   quite narrow. Advisers are regulated by either the SEC or the states, but not both.
   4
       SEC, Duties of Brokers, Dealers, and Investment Advisers, 78 Fed. Reg. 14,848, 14,849 (Mar. 7, 2013).
   5
       Id.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 16 of 97 PageID 5591
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   other     obligations     of     broker-dealers        and    investment       advisers.”          See,
   https://www.sec.gov/rules/other/2013/34-69013.pdf at pp. 1, 3:

           Today, broker-dealers and investment advisers routinely provide to retail customers
           many of the same services and engage in many similar activities related to
           providing personalized investment advice about securities to retail customers.
           While both investment advisers and broker-dealers are subject to regulation and
           oversight designed to protect retail and other customers, the two regulatory schemes
           do so through different approaches notwithstanding the similarity of certain
           services and activities. Investment advisers are fiduciaries to their clients, and their
           regulation under the Investment Advisers Act of 1940 (“Advisers Act”) is largely
           principles-based. In contrast, a broker-dealer is not uniformly considered a
           fiduciary to its customers. Broker-dealer conduct is subject to comprehensive
           regulation under the Securities Exchange Act of 1934 (“Exchange Act”) and the
           rules of each self-regulatory organization (“SRO”) to which the broker-dealer
           belongs. Both broker-dealers and investment advisers also are subject to applicable
           antifraud provisions and rules under the federal securities laws.

   See also SEC, Regulation of Investment Advisers by the U.S. Securities and Exchange
   Commission (March 2013) at note 119, https://www.sec.gov/about/offices/oia/oia_investman/
   rplaze-042012.pdf: “FINRA does not act as a self-regulatory organization with respect to
   investment advisers.”

   As noted in Section D below, in June 2020, well after Plaintiff ceased doing business with
   Raymond James, the SEC adopted Regulation Best Interest (“Reg BI”), which prohibits BDs from
   putting the BDs’ interests ahead of the customers’ interests.

   B. FINRA’s Suitability Rule 2111 Applies to Broker-Dealers Not Acting as Investment
      Advisers

   A reasonable suitability analysis and determination at the time of a recommended transaction is
   fundamental to making investment recommendations.

   The industry standard for determining the suitability of investment recommendations is established
   in the concept of “know your customer,” both in SEC and FINRA rules. This basic principle has
   been the custom and practice in the industry for many years, referring to NYSE Rule 405 and
   present day FINRA Rule 2090.



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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 17 of 97 PageID 5592
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   The term “financial advisor” refers to the licensed registered representative of a BD and is
   commonly used to describe professionals who provide recommendations and advice to their
   clients. The basis of a financial advisor’s recommendation that a transaction or investment strategy
   is suitable depends on the financial advisor’s reasonable diligence in understanding their
   customer’s investment objectives, risk tolerance, needs, background, and time horizon, among
   other factors, including information the client may disclose to the financial advisor. The need to
   take reasonable steps to understand and assess a client’s needs is fundamental to having a
   reasonable basis for recommendations regarding the suitability of an investment or investment
   approach.

   The brokerage industry standard for suitability as the standard for recommendations is based on
   FINRA Rule 2111, which was the applicable rule during the time frame when Ms. Nguyen opened
   and maintained the Freedom Account that is the subject of her present dispute with Raymond
   James. The rule as applied in the industry did not clearly establish, between 2015 and 2018, a duty
   to perform a suitability analysis before recommending a particular account type or structure. The
   rule more clearly applied to determine the suitability of the overall recommendation for the
   underlying investments at the time of the recommendation.

   The suitability rule requires that the financial advisor must have a reasonable basis for making a
   recommendation for a transaction or investment strategy for a customer, regardless of the account
   type. That reasonable recommendation may include multiple investment accounts with differing
   objectives as part of a client’s overall portfolio. In assessing whether there was a reasonable basis
   that a recommendation was suitable, it is important to note that multiple, different investments or
   strategies may each be suitable. The FINRA suitability standard does not require that the
   recommendation be the best choice or least expensive, but rather it must be reasonable based on
   the analysis done by the financial advisor. A suitable recommendation is not based simply on the
   fees associated with an investment, but on whether the investment is reasonable in light of the
   client’s investment profile. A suitability analysis might also determine that the client’s current
   investment(s) or strategy, without changes, is suitable, so the financial advisor could recommend
   that the client “hold” the current investments or strategy.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 18 of 97 PageID 5593
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   The FINRA rule states:

             A member or an associated person must have a reasonable basis to believe that a
             recommended transaction or investment strategy involving a security or securities
             is suitable for the customer, based on the information obtained through the
             reasonable diligence of the member or associated person to ascertain the customer's
             investment profile. 6

   FINRA rules and industry practices require that the suitability analysis for an individual investor
   be a reasonable analysis -- not a perfect analysis -- and be specific to investor’s objectives, time
   horizons, and other factors. In the case of Ms. Nguyen, part of Mr. Seale’s suitability analysis was
   knowing his customer, which is the foundation of FINRA Rule 2090.

   Individual suitability requirements under FINRA Rule 2111 require that the financial advisor have
   a reasonable basis for recommending a transaction or strategy based on the customer’s investment
   profile. A suitable recommendation is made based on the information known to the financial
   advisor at the time about the security or strategy and about their client — suitability is not assessed
   with the benefit of hindsight after the recommendation is made and followed by the client.

   C. The Investment Advisers Act of 1940 Applies to Investment Advisers

   In contrast to the standard that applied to BDs in the relevant timeframe, the Investment Advisers
   Act of 1940 requires that an IA not put their own interest above those of the client. Similar to the
   guidelines outlined in FINRA Rules 2090 and 2111, though, the ’40 Act requires IAs to understand
   the client’s investment profile, background, and financial goals.

   D. After Plaintiff Closed Her Raymond James Accounts in 2018, The SEC and FINRA
      Adopted the “Best Interest” Rule

   Under SEC’s Reg BI, which became effective in June 2020 and well after Ms. Nguyen left
   Raymond James, the BD cannot put their interests ahead of the customer’s interests. The BD must
   assess and take into account the client’s needs and objectives, time horizon, risk tolerance, and
   overall investment experience, just as they would under FINRA Rule 2090. In adopting Reg BI,

   6
       FINRA Rule 2111.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 19 of 97 PageID 5594
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   the SEC stated that Reg BI’s “investment strategy involving securities”—a key phrase that FINRA
   Rule 2111 largely shares—included “account recommendations.” 7

   Applying the standard in place today, under Reg BI, is not correct relative to the time frame Ms.
   Nguyen opened or maintained the subject Freedom Account at Raymond James. In January 2016,
   when Ms. Nguyen opened the Freedom account, and throughout the time she had that account, the
   rule, standards, custom, and practice in the industry was not “best interest” as to a BD
   recommendation for opening a Freedom Account. The standard, at most, was to follow FINRA
   Rule 2111 and apply a reasonable basis to the recommendation that a fee-based, managed account
   such as a Freedom Account was suitable.

          Overview of Pertinent Facts Pertaining to Plaintiff and Her Investment History

   A. Plaintiff Was an Unsophisticated Investor When She Opened Her Freedom Account in
      January 2016 and She Suffered from “Analysis Paralysis”

   Ms. Nguyen had limited experience making investment decisions and had relied on her husband
   before his death. During Mr. Seale’s deposition, he testified that he did not believe Ms. Nguyen
   had the skillset to make investment decisions and she “never acted on [his] recommendations”
   with regard to rebalancing her accounts. 8 She had “analysis paralysis” and “was overwhelmed
   with making those decisions”. 9

   Ms. Nguyen testified during her deposition that she decided on a managed account for her 401k
   rollover (i.e., a Freedom Account) “because I didn’t know how to have those funds invested
   myself.” 10 When asked further about the advantages of a managed account, she answered “that
   the investments would be picked for me.” 11




   7
     17 CFR Part 240, Rel. No. 34-86031, at p. 85 (June 5, 2019).
   8
     Deposition of Dax Seale (May 6, 2021) (“Seale Depo.”), p. 204:6-19, p. 199:2-18.
   9
     Seale Depo., pp. 203:20-204:5.
   10
      Deposition of Kimberly Nguyen (January 12, 2021) (“Nguyen Depo.”), p. 104:1-2.
   11
      Nguyen Depo., pp. 103:23-104:5.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 20 of 97 PageID 5595
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   B. Plaintiff Has No Complaint with the Performance of the Securities in Her Freedom
      Account

   In response to Raymond James’s requests for admission, Ms. Nguyen admitted that she “ha[s] no
   complaints concerning the performance of assets in [her] Freedom Accounts.” 12

   C. Plaintiff’s Only Complaint is That—With Hindsight—She Wants to Pay Even Less
      than the Discounted Fees She Agreed to Pay Prior to Enjoying Substantial Market
      Gains

   Ms. Nguyen was familiar with the fee structure of the January 2016 Freedom Account, because
   she had maintained and paid fees on two other managed accounts (one in the Freedom Program)
   before she opened the Freedom Account at issue. Mr. Seale presented her with a discounted fee
   structure based on the level of Ms. Nguyen’s assets. 13 In her deposition, Ms. Nguyen
   acknowledged that she understood the annual asset-based fees and that she had initialed a form
   indicating she knew what they were. 14

         Overview of Pertinent Facts Pertaining to Plaintiff’s Financial Advisor Dax Seale

   A. Mr. Seale Knew His Customer and Conducted a Robust Suitability Analysis for
      Plaintiff

   Mr. Seale developed a long-term relationship with Ms. Nguyen lasting more than 12 years. He
   understood her investing needs and objectives in order to make recommendations. Ms. Nguyen
   opened her first managed account while at Edward Jones with Mr. Seale. She opened her first
   Freedom Account (her second managed portfolio) following the recommendation of Mr. Seale
   when she transferred to Raymond James. 15 At that same time, Ms. Nguyen also opened a
   brokerage account with securities at Raymond James. 16

   Mr. Seale collected additional client information each time Ms. Nguyen opened an account, which
   he relied on to make recommendations to her as the client, and that built on what he already knew


   12
      Plaintiff’s Amended Response to Defendant’s Requests for Admission, 01/04/2021, Request for Admission No. 8,
   p. 8.
   13
      Seale Depo., Exhibit 44.
   14
      Nguyen Depo., pp. 67:19-69:3
   15
      RJA_(NGUYEN)_006413-006421.
   16
      RJA_(NGUYEN)_027668-027679.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 21 of 97 PageID 5596
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   about her goals and intentions. He also collected information as he worked with her throughout
   their relationship. He created and presented an in-depth, detailed financial plan, titled “Kim’s
   Financial Plan” 17 in December 2015. This plan allowed Mr. Seale to summarize Ms. Nguyen’s
   goals and current assets, including assets held outside of Raymond James that she disclosed to
   him. It details current and recommended asset allocations and includes current and future income
   projections.

   Having reviewed the detailed Financial Plan analysis, Mr. Seale recommended that Ms. Nguyen
   open a second Freedom Account in January 2016. He recommended that she purchase securities
   in that account by using the proceeds from the sale of assets in her brokerage account. Mr. Seale
   performed a suitability analysis prior to making this recommendation and collected the information
   for opening the account in the table below, which is part of the firm’s records. 18




   17
        RJA_(NGUYEN)_010943.
   18
        RJA_(NGUYEN)_003847.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 22 of 97 PageID 5597
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   Mr. Seale also collected the Freedom Account suitability information, reflected in the table below,
   which was used for the review and approval of the Branch Manager and for later review as to the
   suitability of the strategy by the Compliance team at the Asset Management Service division
   (“AMS”): 19




   As he testified during his deposition, Mr. Seale carried out a thorough analysis of the client’s
   background and needs—and did that consistently for each individual client.

              We would look at their -- again, their financial situation. We would -- you know,
              what assets do they have, what assets -- or what types of -- what had they saved
              already, what might they want to save in the future, what their investment
              experience has been in the past or just knowledge of investments in general. What
              their risk tolerance is, their financial goals. So we would do that type of suitability
              analysis to -- to figure out if those accounts made sense. 20

   Further, when asked about whether he considered accounts, or investments in accounts for
   suitability, his response was:




   19
        RJA_(NGUYEN)_003871.
   20
        Seale Depo., p. 34:10-19, p. 233:3-20.


                                                        12
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 23 of 97 PageID 5598
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   CONFIDENTIALITY AGREEMENT

            The type of accounts and then the objective of that account, the investments in that
            account as well. 21

   In determining suitability, Mr. Seale also testified that his business model takes a holistic approach
   to a client. 22

   Thus, Mr. Seale and Raymond James conducted a thorough, detailed suitability analysis by
   knowing Ms. Nguyen over a long period of time and collecting relevant information about her
   goals, objectives, and investment experience.

   B. Mr. Seale’s Recommendations Were Reasonable and He Put Plaintiff’s Interests First

   Without a specific rule in place requiring that he do so, Mr. Seale still put his client’s interests
   first.

   As outlined in the Raymond James written procedures (discussed below) and memorialized in the
   client information and profile documents made part of the account opening materials, 23 Mr. Seale
   gathered information about Ms. Nguyen, including her age, financial situation and needs,
   investment objectives, investment experience, liquidity needs, and risk tolerance.

   Mr. Seale’s recommendation that the Freedom Account and the Freedom Hybrid model were
   suitable for Ms. Nguyen had a reasonable basis. The account model that was recommended to her
   met her objectives, risk tolerance, time horizon, diversification, and investment experience. The
   Freedom Account provided her with other features that were not available to her in a standard
   brokerage account. The additional levels of portfolio management Ms. Nguyen received by
   selecting the Freedom Account included:

        •   Automatic annual rebalancing of the portfolio specific to the individual plan selected
        •   Asset Allocation
        •   Professional Fund Managers
        •   More diversification and reduce portfolio risk
        •   Access to different money managers at lower/institutional costs
        •   Active monitoring and management

   21
      Seale Depo., p. 34:25-35:2.
   22
      Seale Depo., p. 103:11-12.
   23
      RJA_(NGUYEN)_003871-003875; 003846-003847.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 24 of 97 PageID 5599
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        •   Options to change management models with no additional costs
        •   Tax strategies employed by the fund managers to reduce short term tax consequences. 24

   During that time, and stated differently, the AMS division of Raymond James provided the
   services and benefits of the Freedom Portfolio. Ms. Nguyen received the promised due diligence
   over the fund managers, performance that was benchmarked against indices, the benefits of the
   portfolio strategy she selected, and the services of the Investment Committee, which met regularly.
   This is shown in the minutes of the Investment Committee, in the relevant Form ADV Part 2A and
   the FA Guides, and in Chris Thurston’s deposition.

   Other Freedom Account features that she gained were:

            Strategy funds based on forward looking mutual fund research, and institutional
            investment theory, rather than solely on past performance. 25

   AMS/Freedom benefits were accomplished by the active management of the portfolio.

   Mr. Seale stated that, “I felt like Freedom was a great fit for her.” 26 When he was asked about the
   Freedom services and benefits, he provided more reasons for his recommendation to her, and
   contrasted the Freedom Account to a self-managed brokerage account, stating the following about
   the latter:

            She wasn’t getting professional money management. She wasn’t getting automatic
            rebalancing. She wasn’t getting the strategic rebalancing that happens in Freedom
            accounts. She wasn’t getting diversification across multiple fund families, both
            active and passive. 27

   Ms. Nguyen understood the objectives and features of the Freedom Portfolio, and when asked what
   she saw as the advantages, she responded, “that the investments would be picked for me.”28
   Plaintiff wrote to Mr. Seale, as late as May 30, 2018, when she and Mr. Seale were discussing
   other account types by email, that she appreciated and understood the active management of


   24
      Freedom Account / Financial Advisor Guide, RJA_(NGUYEN)_040415-040424.
   25
      Freedom Account / Financial Advisor Guide, RJA_(NGUYEN)_040415.
   26
      Seale Depo., p. 199:16-17.
   27
      Seale Depo., p. 191:8-13.
   28
      Nguyen Depo., pp. 103:23-104:5.


                                                    14
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 25 of 97 PageID 5600
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   CONFIDENTIALITY AGREEMENT

   Freedom, confirming that it was still a fit for her: “I was thinking that at one point in the future,
   when I didn’t need as active a management, there would be a platform with less automated
   managed and, therefore lower fees.” 29 She confirmed this in her deposition, stating that “I thought
   as I got more education that I could do what my husband did,” that is, manage the accounts on her
   own. 30

   Ms. Nguyen understood the concept of a managed portfolio and that type of account structure. She
   was familiar with and authorized the fees charged on her accounts. At different points in the
   relationship, she asked several questions about the fee structure, which indicates that she
   understood how the fees were applied. 31

   Later, in May 2016, Ms. Nguyen also opened yet another fee-based, managed account—her fourth
   account that she disclosed—at TD Ameritrade, just a few months after she opened the January
   2016 Freedom Account at Raymond James. 32 When she was questioned about why she chose her
   managed account with TD Ameritrade, Ms. Nguyen explained that she chose it for the same reason
   she chose her Freedom Account, “I didn’t know how to pick the investments.” 33

   By June of 2016, then, Ms. Nguyen had experience holding several managed portfolio accounts at
   three different firms (Edward Jones, Raymond James, and TD Ameritrade) and had authorized the
   transfer of assets to these accounts and accepted the fees associated with them. Having had four
   such managed accounts, she is only complaining about the suitability of the recommendation for
   one of those accounts. Additionally, she is only complaining about the fees paid, and not the
   benefits, services, and investment performance in that account. 34




   29
      Nguyen Depo., Ex. 17, at NGUYEN_0000209.
   30
      Nguyen Depo., p. 152:18-21; 153:8.
   31
      NGUYEN_0000082, NGUYEN_0000160, NGUYEN_0000208.
   32
      Kimberly Nguyen Deposition Errata Sheet, Vol. 2.
   33
      Nguyen Depo., p. 104:20-25.
   34
      See Plaintiff’s Amended Response to Defendant’s Requests for Admission, 01/04/2021, Request for Admission
   No. 8, p. 8.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 26 of 97 PageID 5601
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   CONFIDENTIALITY AGREEMENT

   Ms. Nguyen made the decision upon Mr. Seale’s recommendation to open the January 2016
   Freedom Account, and invest assets into that account, and agreed to the fee basis and admitted her
   satisfaction with the account performance.

   In the case of Ms. Nguyen, the Freedom Account allocations were suitable and in line with her
   objectives, risk tolerance, and time horizon. Similarly, the account structure recommendation was
   suitable and in line with her risk tolerance, time horizon, and investment experience, and the
   Financial Advisor assessed and documented this determination in the new account forms.

   C. Mr. Seale and Raymond James Acted Appropriately Before and After the Opening of
      the Freedom Account, and Ms. Nguyen Received the Value for the Fees She Agreed to
      Pay

   After Ms. Nguyen opened the Freedom Account, Mr. Seale communicated with her regularly by
   phone and email as to her investment goals and her general investment profile.                              These
   communications are documented in the contact management notes (“CRM”), 35 and emails
   between Ms. Nguyen and Mr. Seale. 36 Mr. Seale also testified to the communications he had with
   her by phone, 37 and Ms. Nguyen also testified to those communications. 38

   Those communications included annual account reviews, and would include suggested
   rebalancing and updating suitability details for Ms. Nguyen. One meeting included Mr. Seale
   creating a unique, detailed Financial Plan specific to Ms. Nguyen in 2017, 39 similar to the one
   created in December 2015.

   The AMS division has in place a system for daily monitoring of allocations to assure adherence
   with client objectives and risk tolerances. 40

   Further as part of the benefits of the Freedom Account, AMS also conducted regular, documented
   Investment Committee meetings in which they made investment policy decisions regarding the

   35
      RJA_(NGUYEN)_003637-003639.
   36
      RJA_(NGUYEN)_000067, RJA_(NGUYEN)_000037, RJA_(NGUYEN)_023843, RJA_(NGUYEN)_023388.
   37
      Seale Depo., p. 231:13-17.
   38
      Nguyen Depo., p. 121:18-24, p. 130:17-25.
   39
      RJA_(NGUYEN)_010879.
   40
      Deposition of Chris Thurston (“Thurston Depo.”), p. 154:17-23, p. 155:12-16; p. 155:24-156:3; p. 156:19-21; p.
   158:11-159:4.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 27 of 97 PageID 5602
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   Freedom Portfolio models, taking a more holistic view of the markets. 41 The AMS group also
   reviews the accounts shortly after they are opened to evaluate that they are in line with the client’s
   stated objectives. 42

          Raymond James’s Policies and Procedures, and Raymond James’s Supervisory
               Structure, Were and Are Consistent with the Industry Standards

   FINRA Rule 3110 outlines the supervisory processes and systems that financial services firms
   must create and maintain.

   All firms are required to establish and maintain a reasonable supervisory system and structure in
   order to comply with FINRA rules and applicable regulations. In addition, Rule 3110 requires that
   a firm establish and maintain written procedures and have a system for internal inspections and
   transaction oversight.

   Raymond James’s written policies and procedures as to obtaining client suitability information,
   making recommendations, and supervision were consistent with industry rules, standards, custom,
   and practice at all relevant times when Ms. Nguyen maintained accounts with the firm. Raymond
   James also maintained written policies and procedures outlining the supervisory structure,
   including Branch Manager supervision of Financial Advisor activities.

   The policies also include approval of all new account applications by a registered principal of the
   firm, and that occurred for Ms. Nguyen’s three accounts discussed above. Raymond James also
   had policies in place designed to collect suitability analysis information at the time an account is
   opened documented in the new account forms for each of the client’s accounts. Ms. Nguyen even
   acknowledged during her deposition that suitability information was collected as part of opening
   her Freedom Account. 43

   The execution of these processes to collect and maintain suitability information comply with the
   books and records rules established by FINRA.


   41
      Thurston Depo., pp. 156:24-157:7
   42
      Thurston Depo., pp. 78:17-79:22; RJA_(NGUYEN)_059112 & RJA_(NGUYEN)_059113.
   43
      Nguyen Depo., p. 207:12-16.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 28 of 97 PageID 5603
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   CONFIDENTIALITY AGREEMENT

   The Branch Manager and the Compliance division have access to additional documentation, as
   well, including contact management (CRM) notes, emails, financial plans, and other materials that
   a particular financial advisor may have retained, and both the Branch Manager and Compliance
   have access directly to the financial advisors themselves.

   Negative response verification letters are sent out to a client upon opening an account, and when
   updating basic account information, and on a regular 3-year cycle. These letters offer the client the
   opportunity to respond if the information is incorrect and needs to be changed or updated. One
   such letter, dated February 10, 2016, was sent to Ms. Nguyen upon the opening of the Freedom
   Account at issue in this matter. 44 There is no record of Ms. Nguyen responding with changes or
   corrections to any verifications she received from Raymond James.

   The policies and procedures provide an outline of responsibilities for financial advisors regarding
   recommendations to clients and for which each financial advisor is subject to review and oversight
   by their Branch Manager. The policies also outline the fiduciary responsibilities assumed by the
   firm in connection with advisory accounts such as Freedom.

   The firm had written AMS Policies and Supervisory Procedures while Ms. Nguyen was a client.
   Raymond James maintained policies and procedures specific to investment advisory accounts. The
   policies outline the applicable suitability requirements of a Financial Advisor.

           The primary responsibility for ensuring that investment management account
           products selected by the client are suitable for his or her financial situation lies with
           the client’s advisor. This initial determination is also reviewed and approved by a
           registered principal at the branch office. 45

   The Raymond James procedures related to collecting suitability information state:

           Financial Advisors should be diligent in their efforts to determine each client’s
           specific investment needs, account types, goals, and objectives in adherence to the
           “Know Your Client” rule. Financial Advisors must also have a reasonable basis for
           recommending securities, transactions, investment strategies and explicit hold


   44
     RJA_(NGUYEN)_009928-009929.
   45
     AMS Policies and Supervisory Procedures, “Investment Management Account Initial Investment Objective
   Review,” RJA_(NGUYEN)_010782-10783; see also, 010774-010775, 015121-015126.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 29 of 97 PageID 5604
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   CONFIDENTIALITY AGREEMENT

          recommendations whether or not the recommendation results in a transaction with
          the firm. 46

   Raymond James also had procedures in place based on the Investment Advisers Act of 1940 and
   related rules. These procedures included that Investment Advisor Representatives (IARs) “should
   periodically review advisory accounts to determine whether the account remains appropriate for a
   client,” 47 and that “Financial Advisors must be appropriately registered as [IARs] prior to engaging
   clients through investment advisory agreements.” 48 Although plaintiff does not specifically invoke
   the ’40 Act as a basis for her claims, relying instead on the concept of suitability, these Raymond
   James procedures were in line with industry rules, standards, custom, and practice.           These
   procedures were also reviewed and updated during the relevant period which is a best practice.

   Mr. Seale’s recommendations to Ms. Nguyen in connection with the January 2016 Freedom
   Account were based on a thorough suitability analysis and were in accord with the relevant
   procedures.

   The Raymond James supervisory system is also structured to provide a formalized approval
   process covering internal communications, including sales materials and correspondence with
   clients. Raymond James also provided summary materials for financial-advisor education on the
   products. In addition to the Form ADV, Part 2A, Raymond James provided Financial Advisor
   Guides specific to the Freedom Account at issue in this matter.

   While Ms. Nguyen was a client at Raymond James, the firm maintained a robust supervisory
   structure in line with industry standards. Raymond James supervisory policies and procedures met
   and/or exceeded industry customs and practices in order to achieve reasonable supervision.

   Raymond James at all relevant times had procedures in place requiring that the financial advisor
   make the determination that the investment advice provided to clients was suitable. Although
   excerpted already above in part, a larger excerpt is warranted from the Raymond James procedures
   in place in January 2016:



   46
      RJA_(NGUYEN)_019564.
   47
      RJA_(NGUYEN)_019544-019545 (Investment Advisory Accounts)
   48
      RJA_(NGUYEN)_019421-019422 (Advisory Accounts)


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 30 of 97 PageID 5605
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   CONFIDENTIALITY AGREEMENT

             As a fiduciary on investment management accounts, Raymond James is obligated
             to make a determination that the investment advice it gives to clients is suitable,
             taking into consideration the client’s financial situation, investment experience and
             investment objectives. As such, all managed accounts are subject to suitability
             requirements.

             The primary responsibility for ensuring that investment management account
             products selected by the client are suitable for his or her financial situation lies with
             the client’s financial advisor. This initial determination is also reviewed and
             approved by a registered principal at the branch office.

             For newly established investment management accounts, AMS Compliance
             reviews the clients’ investment objectives, time horizon, and risk tolerance and
             other client-provided financial profile information to verify consistency with the
             clients’ selected investment strategy and/or manager's discipline. 49

   The policies and supervisory structure at Raymond James during the entire time Ms. Nguyen was
   a client met and/or exceeded industry standards with respect to review of account opening
   processes and the monitoring of suitability for Freedom Accounts.

                          The Theory of Plaintiff’s Individual and Class Claims
                          is Fundamentally At Odds with Suitability Concepts

   A. Individual Suitability Analyses Must Be Performed for Each Raymond James
      Individual Client When Financial Advisors Make Recommendations

   As discussed above, a suitability analysis for a particular client is completed at the time of a
   recommended transaction or initiating a strategy. The standards, custom, and practice in the
   industry, following FINRA rules, requires that a financial advisor conduct a suitability analysis for
   each client, that evaluates the client’s specific objectives, risk tolerance, experience, and needs.
   Raymond James’ policies met and/or exceeded the regulatory rules and require an individualized
   evaluation to determine reasonable suitability.




   49
        RJA_(NGUYEN)_010782-010783 (Investment Management Account Initial Investment Overview).


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 31 of 97 PageID 5606
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   CONFIDENTIALITY AGREEMENT

   B. Plaintiff’s Allegation That Raymond James Failed to Conduct Any Suitability Analysis
      in Regard to Her Freedom Account Is Belied by the Evidence

   In the case of Ms. Nguyen, detailed financial plans were developed and provided to the client
   during the time she maintained her accounts at Raymond James, including one just a few weeks
   before Mr. Seale’s recommendation of the Freedom Account at issue. Raymond James again
   collected the necessary client profile information as part of the information collected on the
   standard forms for account opening.

   During his deposition, Mr. Seale was asked a series of questions about whether he had completed
   a suitability analysis for Ms. Nguyen. His responses follow:

              Q. Mr. Seale, have you read the second amended complaint?

              A. Yes.

              Q. Do you recall seeing an allegation that you did not do a suitability analysis for
              Ms. Nguyen?

              A. Yes.

              Q. Is that allegation true?

              A. No.

              Q. Did you, in fact, do a suitability analysis at Raymond James in connection with
              Ms. Nguyen's decision to open her IRA Freedom account in July 2015?

              A. Yes.

              Q. And did you also do a suitability analysis at Raymond James in connection with
              Ms. Nguyen's decision to open her second Freedom account in January 2016?

              A. Yes. 50



   50
        Seale Depo., p. 233:3-20.


                                                     21
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 32 of 97 PageID 5607
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   CONFIDENTIALITY AGREEMENT

   Mr. Seale knew his customer and evaluated the proposed investments for suitability at the time of
   the recommendation.

   C. Supervising Principals at Broker-Dealer Branches Are Required to Confirm The
      Determination That a Product Is Suitable

   Supervision review and oversight of the selection and opening of the Freedom account was done
   by the branch manager, Paul Elkjer, who signed the account opening documents on January 29,
   2016. 51 The portion of the Freedom Agreement containing the client profile was included in the
   materials that Mr. Elkjer approved. 52

   The AMS Compliance division then reviewed the Freedom Account and associated information
   about Ms. Nguyen to compare the objectives, risk tolerance, and characteristics to assure that the
   model selected was in line with those characteristics. 53

   D. There Is No Single Definition of a “Buy And Hold” Investor and Hence Commonality
      Among Investors Cannot Be Established on That Basis Alone

   Plaintiff has defined her investment strategy as “buy and hold,” and states that her putative class
   is of those clients “who had minimal trading activity in their accounts (e.g., buy-and-hold
   investors).” 54

   None of the financial regulatory bodies (i.e., FINRA and SEC) have a specific definition of “Buy
   and Hold,” in rule or practice. The concept has many different interpretations in the industry and
   among investors.

   Although it is generally seen as a long-term strategy, the length of time a security is held is entirely
   dependent on the purpose for the investment. Each specific investor has a different set of
   circumstances and time horizons as they invest. That is, investors with “minimal trading activity,”
   can have that minimal trading activity—however you define that—for different reasons. Standing
   alone, it is just one data point about an investor. Similarly, if a client has a shorter or longer time


   51
      RJA_(NGUYEN)_003850.
   52
      Raymond James Freedom Account Client Information & Profile, RJA_(NGUYEN)_003871.
   53
      RJA_(NGUYEN)_059112 & RJA_(NGUYEN)_059113.
   54
      SAC, para 1.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 33 of 97 PageID 5608
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   CONFIDENTIALITY AGREEMENT

   horizon, the way they define “Buy and Hold” generally differs considerably based on that time
   horizon.

   It is nearly impossible to define the length of time that would be consistent from one investor to
   another. The definition of a long period of time could be 3 to 5 years for some investors, while
   others might define long term as 10 years or longer.

   When asked during her deposition about her definition, Ms. Nguyen provided no clarity. She
   confirmed that everyone in the class is a “Buy and Hold” investor “like [her].” 55 While her
   complaint stated that “buy and hold” meant “customers who generate little or no trades,” she
   testified that it meant someone who keeps a stable portfolio over time. 56

   What is the threshold for generating little or no trades, and would that necessarily indicate someone
   who had employed a similar strategy? An account that generated little to no commission—due to
   “minimal trading activity”—could be the result of indecision, inattention, absence of the ability to
   conduct their financial affairs, illness or incapacity of the client, or other factors that would impact
   any investment strategy. The financial advisor would need to inquire into that, and any review of
   a recommendation for suitability would need to understand that entire picture, and not simply stop
   at the number of trades in a brokerage account over a given period. Accounts that are opened for
   specific purposes, or limited time horizons, such as trust and estate accounts, would not typically
   generate trading activity but would not be necessarily indicative of a “Buy and Hold” strategy, or,
   further, that a recommendation that a fee-based managed program like Freedom is suitable would
   not have a reasonable basis. A client’s holding period would be dependent on the purpose of the
   funds in the account and the time horizons associated with them.

   When asked to clarify whether everyone who generates little or no trades is a “Buy and Hold”
   investor, at her deposition, Ms. Nguyen responded “I don’t know.” 57 Ms. Nguyen was asked




   55
      Nguyen Depo., pp. 201:22-202:2.
   56
      Nguyen Depo., p. 202:3-24.
   57
      Nguyen Depo., p. 203:1-4.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 34 of 97 PageID 5609
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   “[Y]ou have no idea how to define a buy-and-hold investor for purposes of this lawsuit?” and she
   responded, “Correct.” 58

   Ms. Nguyen provided different definitions based on her understanding of the terms at different
   times during and after her relationship with Raymond James. She acknowledged that she did not
   have a clear definition of what represented a “Buy and Hold” investor.

   E. Comparing the Level of Trading Activity in a Non-Managed, Commission-Based
      Account to the Level of Trading in a Managed, Discretionary Fee-Based Account
      Establishes Nothing in Regard to the Suitability of a Freedom Account

   Determining whether a financial advisor, or the FA’s firm has a reasonable basis for a
   recommendation that a fee-based managed account is suitable, requires an individualized
   assessment, including an assessment of the factors in FINRA Rule 2111. One cannot make an
   assumption that because the source account had limited (however defined), or no trading activity,
   the recommendation to open a Freedom Account lacks a reasonable basis. Customers or customer
   accounts generating little to no trades may be the result of numerous factors that would require
   individualized analysis.

   To assume that everyone that might be in a class had similar objectives, risk tolerance, age, income
   status, and time horizons based solely on the coincidence that their accounts generated limited
   trades or commissions is not a good measure and ignores and omits the suitability components to
   be considered in FINRA Rule 2111. Strategies undertaken by each client are individualized,
   depending on these and other factors. That would require a significant analytical undertaking to
   review prior portfolio allocations, subsequent investments, the additions and subtractions of
   principal from an account, among other metrics. It would require a conversation with each investor
   and each financial advisor.

   In order to determine if other Freedom Account holders had similar situations, and to analyze this
   for every individual account holder in the putative class, an expert (and a jury) would have to
   perform thousands of individualized analyses on investors, in the period before the financial
   advisor recommended that the investor open a Freedom Account. One would need to analyze


   58
        Nguyen Depo., p. 211:l0-13.


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 35 of 97 PageID 5610
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   specific holding periods and the reasons for investment, and determine if the risk tolerance,
   objectives, time horizons, and investment experience provided a reasonable basis for the financial
   advisor’s recommendation and if, in fact, the financial advisor gathered and referenced that
   material, or the information derived from it.

   Additionally, a review of a financial advisor’s recommendation of an investment product
   (including a fee-based, managed account) is not, in isolation sufficient to determine whether the
   product was suitable, although that can be part of it. It is also necessary to review whether the
   recommendation was supported by a reasonable basis, while also considering the other factors that
   complete the suitability analysis set for, e.g., in FINRA Rule 2111. Looking only at the number
   of trades that were done in the brokerage account that funded the Freedom Account does not tell
   the reviewer (a jury, a judge, or an expert) much about the recommendation.

   Suitability recommendations are made on a unique, case-by-case basis. Using the term “Buy and
   Hold” investor (particularly as it has no single meaning under industry standard custom and
   practice) or even the broader (but still vague) “minimal trading activity” does not allow a short cut
   to the proper suitability evaluation. Suitability evaluations must be done on a client-by-client
   basis.

                         Plaintiff’s Individual Claims Are Without Merit
                      Because the Freedom Account Was Suitable for Plaintiff

   For the reasons set forth above, Ms. Nguyen’s individual claims lack merit because she has no
   complaint about the performance of the account, she understood and agreed to the fees, a suitability
   analysis was done at the time of the recommendation, and she made the decision to invest in the
   Freedom Account. The Freedom Account model she chose matched her unique individual
   objectives, risk tolerance, investment experience, and time horizon and goals.

   After Ms. Nguyen opened her second Freedom Account, Raymond James conducted itself, with
   respect to that account and Ms. Nguyen, appropriately and in accord with applicable rules,
   standards, custom, and practice in the industry.




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 36 of 97 PageID 5611
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   At all relevant times that she held this Freedom Account, it remained suitable and in line with her
   investment objectives, time horizon, risk tolerance, and other relevant considerations, for the
   reasons stated throughout this report.

            Plaintiff’s Class Claims Are Without Merit Because Suitability Analyses
    Necessarily Require Individualized Client-By-Client Determinations Made by Thousands
                                      of Financial Advisors

   Suitability analyses are conducted individually and must be done for each client and cannot be
   made on a wholesale basis. Each client has unique investing characteristics, and there is no
   standard definition of a “typical” investor. Each client’s objectives, risk tolerance, age, net worth,
   annual income, investment experience, time horizons, and personal goals differ.              Account
   ownership differs, depending on whether they are individual, joint, held in trust or other beneficial
   forms of ownership, and accounts vary as well based on whether are taxable, retirement, or other
   types.

   Ms. Nguyen’s specific circumstances, age, assets, income level, objectives, and time horizons
   differentiate her from other members of this purported class, but perhaps nothing makes her more
   different than her having had multiple fee-based, managed accounts, and only complaining about
   one of them. Her financial circumstances are individual and unique.

   Ms. Nguyen understood the concept of a managed portfolio, made the deliberate decision to invest
   in the Freedom Program, and acknowledged and accepted the fee structure.

   Suitability analyses are done by individual financial advisors and are based significantly on their
   specific knowledge of their clients and some relationships having developed over long periods of
   time.    Each financial-advisor-to-client relationship differs in the level and methods of
   communications.

   There can be multiple differences from one Freedom Account holder to another with respect to
   how long such investors had been clients in traditional commission-based accounts, and the
   reasons why.

   An analysis of any of the above distinctions between customers would require the review of
   thousands of accounts and client profiles both before and after the investment in the Freedom


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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 37 of 97 PageID 5612
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   CONFIDENTIALITY AGREEMENT

   Account to determine similar holdings, time frames, and the asset allocations in both the
   commission accounts as well as the Freedom Portfolio. The Freedom Portfolios offer different
   investment styles with varying objectives requiring each Freedom Account and its client to be
   evaluated individually.

   Ultimately, investments and recommendations are dependent on each client’s personal
   circumstances and willingness to take risk.

                                               Conclusions

   Having considered all of the evidence contained in the documents, depositions, and data sources I
   have reviewed, in addition to the 10 specific opinions on page 3-4 above, it is my further opinion
   that:

       1. Mr. Seale and Raymond James conducted a proper, thorough, and appropriate suitability
           analysis with respect to the Freedom Account at issue at the time of the recommendation,
           and complied with all applicable rules, regulations, and industry standards.

       2. Ms. Nguyen authorized the investment in the Freedom Account understood the advantages,
           and costs, and she benefited from those services not available to her in a commission-based
           account.

       3. Throughout the period that she held the Freedom Account at issue, Ms. Nguyen received
           individualized, ongoing, suitable advice that was developed for her unique, personal
           investment characteristics that differed from other investors. While she maintained her
           Freedom Account, Mr. Seale conducted appropriate suitability reviews.

       4. After Ms. Nguyen opened her second Freedom Account, Raymond James conducted itself,
           with respect to that account and Ms. Nguyen, appropriately and in accord with applicable
           rules, standards, custom, and practice in the industry.

       5. At all relevant times that Ms. Nguyen held the Freedom Account, it remained suitable and
           in line with her investment objectives, time horizon, risk tolerance, and other relevant
           considerations.



                                                    27
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 38 of 97 PageID 5613
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 39 of 97 PageID 5614




                               EXHIBIT A
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 40 of 97 PageID 5615




     Joseph J. Thomas, Director
     St. Louis, MO
     Main:    (503) 670-7772
     Fax:     (503) 670-0997
     Email:   jthomas@batesgroup.com


     BIOGRAPHY

     Joseph Thomas is a Director with Bates Group, working out of St. Louis, MO. Mr. Thomas has thirty years of
     securities industry compliance, supervision, operations and administration experience. He has an educational
     background in quantitative management, and work experience leading teams of associates, implementing
     process and workflow changes, and developing supervisory systems and policies. In addition, Mr. Thomas has
     provided quantitative and substantive witness testimony and opinions in over 100 retail securities litigation,
     arbitration, and court matters.

     While with Wells Fargo/Wachovia Securities/A.G. Edwards & Sons, as Vice President and Finance
     Manager/Litigation Auditor, Mr. Thomas was responsible for coordinating and supervising the preparation of
     financial and damages analysis reports. He was also responsible for consulting and providing opinions on
     trading patterns, investment product and market risk analysis, investment cost analysis and case assessment
     related to securities litigation. In addition, Mr. Thomas provided expert testimony during legal proceedings as
     to the validity of the financial data and substantive matters including compliance procedures and supervision.
     Mr. Thomas also served on the Wells Fargo Advisors Information Governance Board, Information Strategy
     Initiative Committee, Business Continuity Council, and Service Break Committee, Firm Incentive Award Advisory
     Committee and was a member of the Senior Leadership Council.

     Prior to Wells Fargo, Mr. Thomas was with Edward Jones Investments for 17 years. In his role as Area Team
     Leader, his responsibilities included coordinating the sales and compliance supervision of approximately 780
     Investment Representatives in the Southeastern United States, supervising a staff of Field Supervision Directors
     and providing oversight and development. Mr. Thomas coordinated branch compliance audits, developed and
     delivered educational training to the department as well as regional Investment Representative Meetings. He
     also served as firm representative in arbitration hearings and provided testimony regarding suitability,
     supervision systems, and performance analysis. Mr. Thomas also participated in Sales Practice Examinations with
     the NASD and NYSE on a regular basis.

     While with Edward Jones, Mr. Thomas spent six years in a Field Supervision Director role where his responsibilities
     included daily oversight and supervision of 130 Investment Representatives as registered Branch Manager. He
     reviewed all daily trading activity, provided guidance and instructions directly to the Investment Representatives,
     and delivered education advice, and compliance presentations at regional meetings. Mr. Thomas conducted
     annual compliance audits and oversight of all functions of the branch office. During this time, he was also involved
     in the development of supervisory systems as well as an automated new account system.




     Joseph J. Thomas                             www.batesgroup.com                                          Page 1 of 3
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 41 of 97 PageID 5616




     EXPERIENCE

     Wells Fargo/Wachovia Securities/A.G. Edwards & Sons, 2005-2011
       Finance Manager/Litigation Auditor, Vice President, Legal Division (2009-2011)
       Litigation Auditor, Operations Manager, Vice President, Law Department (2005-2009)
     Edward Jones Investments, 1988-2005
      Area Team Leader, Limited Partner – Field Supervision (2000-2005)
      Field Supervision Director, Limited Partner (1994-2000)
      Operations Specialist – Product Master File (1992-1994)
      Cash Operations Relationship Associate – Branch Cash Receipts (1989-1991)
      Loan Servicing Specialist – Edward D. Jones Mortgage Operations (1988-1989)


     EDUCATION

     University of Missouri, St. Louis, B.S. Business Administration: Management Science/Quantitative Management


     PROFESSIONAL DESIGNATIONS

     Series 7, General Securities Representative
     Series 8, General Securities Sales Supervisor
     Series 24, Securities Principal
     Series 63, State Securities License
     Life and Health Insurance License, State of Missouri
     Member National Society of Compliance Professionals
     Member Securities Industry and Financial Markets Association Compliance and Legal Society
     Member Securities Industry and Financial Markets Association Senior Investors Working Group
     Member, National Adult Protective Services Association
     National Adult Protective Services Association Public Policy Committee


     SPEAKING ENGAGEMENTS

     Panelist, FSI One Voice Conference, Aging Clients and Advisors, 2016
     Panelist, SIFMA Senior Investors Workshop, Phoenix, AZ, May 2018
     Panelist, SIFMA Senior Investors Workshop, Minneapolis, MN, April 2019




     Joseph J. Thomas                              www.batesgroup.com                                  Page 2 of 3
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 42 of 97 PageID 5617




     Panelist, Bates Group - CLE, Addressing Senior and Vulnerable Investor Protection and Potential Litigation
      Claims in the Covid-19 World, May 2020
     Panelist, Bates Group - CLE, Regulatory and Litigation Issues in a Post Covid-19 World: A Look into the Crystal
      Ball, May 2020
     Panelist, American Bar Association – CLE, Exploitation of Senior and Vulnerable Investors in the Covid-19 Era
      and Regulatory Responses, November 2020




     Joseph J. Thomas                            www.batesgroup.com                                          Page 3 of 3
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 43 of 97 PageID 5618




                               EXHIBIT B
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 44 of 97 PageID 5619




     Joseph J Thomas

     Main: 503.670.7772
     Email: JThomas@batesgroup.com



     TRIAL, ARBITRATION, MEDIATION, EXPERT REPORT AND DEPOSITION HISTORY

     Testimony, Deposition


        1. BBVA Oriental v. Pedro Boj, Hearing site San Juan, PR. FINRA Arbitration 12-02910 (May
           2017)

        2. Michael Darius and Miriam Darius v Merrill Lynch, Pierce, Fenner, & Smith, Incorporated.
           Hearing site: Charleston WV. FINRA Arbitration Case No. 16-00333 (June 2017)

        3. Timothy Slater v Sheila Slater, Deposition, St. Louis, MO. Case No. 15-D-869 (September
           2017)

        4. James M. Linick, individually and as Trustee for the James M. Linick Trust U/A DTD
           12/16/2015. Hearing site: Tampa, FL. FINRA Arbitration 16-02747 (October 2017)

        5. Dennis W. Meyers v Wells Fargo Advisors Financial Network, LLC. Hearing site:
           Minneapolis MN. FINRA Arbitration No. 17-00852 (January 2018)

        6. Jodene Susan Carr v Bradley Robert Carr, Deposition, St. Louis, MO. Case No. 16SL-
           DR06059 (May 2018)

        7. James J. Johnson, v LPL Financial, LLC and Wells Fargo Advisors/Wells Fargo Clearing
           Services, LLC. Hearing site: Chicago IL. FINRA Arbitration No. 17-00615 (July/September
           2018)

        8. Joan Gara v Merrill Lynch, Pierce, Fenner & Smith Incorporated and UBS Financial Services,
           Inc. FINRA Arbitration No. 17-01152 (September 2018)

        9. Thomas Ionta, IRA, v Mid Atlantic Capital Corporation. Hearing Site: Los Angeles, CA.
           FINRA Arbitration No. 17-00606 (October 2018)

        10. Kenneth J. Crawford v Jeanne P. Crawford, Deposition, St. Louis, MO. Case No. 17SL-
            DR04585 (November 2018)

        11. Kathy Engberg vs. Richard D. Dunagan and Wells Fargo Advisors, LLC, Houston, TX. FINRA
            Arbitration No. 17-02604 (January 2019)

        12. Robert F. Hayden IV, Individually and as Personal Representative of the Estate of Mary Ellen
            Hayden v. Wells Fargo Securities, LLC, Wells Fargo Clearing Services, et al., Boston, MA.
            FINRA Arbitration No. 17-00799 (April 2019)


     Joe Thomas                            www.batesgroup.com                                   Page 1 of 2
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 45 of 97 PageID 5620




       13. Melrose Endolyn Whittaker v. Merrill Lynch, Pierce, Fenner & Smith, Boca Raton, FL. FINRA
           Arbitration No. 18-02840 (July 2019)

       14. Sandra C. Alford v. National Planning Corporation, St. Louis, MO. FINRA Arbitration No. 17-
           02420 (November 2019)

       15. Shahida Arunima Hossain v. Wells Fargo Advisors, LLC. Chicago, IL. FINRA Arbitration No.
           17-00463 (December 2019)

       16. Sara E. Kotthoff v. Ralph C. Kotthoff, St Louis County, MO Circuit Court. Case Number 13SL-
           DR02377 (October 2020)

       17. Elizabeth Old vs. Merrill Lynch, Pierce Fenner & Smith Inc. and Thomas Mccafferty,
           Expungement Hearing. FINRA Arbitration No. 19-01000 (November 2020)

       18. Michael P. Bredenberg v. ReDefine Wealth Management, LLC, A Delaware Corporation;
           John Nuttall, An Individual; and Jason Inglis, An Individual. AAA (American Arbitration
           Association) Case No. 01-20-0003-5036. Video Testimony (February 2021)

       19. Frank Lestarchick v. Wells Fargo Clearing Services, LLC, Alfonso Allen Gialanella, et al.
           FINRA Arbitration No. 19-02695. Video Testimony (April 2021)




     Joe Thomas                            www.batesgroup.com                                   Page 2 of 2
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 46 of 97 PageID 5621




                               EXHIBIT C
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 47 of 97 PageID 5622
   CONFIDENTIAL


Nguyen v. Raymond James & Associates, Inc.
Facts and Data Considered

Begin Bates                                    End Bates                 Other Description
Account Opening Documents
RJA_(NGUYEN)_006466                            RJA_(NGUYEN)_006485
RJA_(NGUYEN)_003898                            RJA_(NGUYEN)_003903
RJA_(NGUYEN)_000001                            RJA_(NGUYEN)_000043
RJA_(NGUYEN)_027668                            RJA_(NGUYEN)_027679
RJA_(NGUYEN)_006413                            RJA_(NGUYEN)_006421
RJA_(NGUYEN)_009928                            RJA_(NGUYEN)_009939
RJA_(NGUYEN)_003846                            RJA_(NGUYEN)_003897
RJA_(NGUYEN)_007414                            RJA_(NGUYEN)_007429
RJA_(NGUYEN)_006302                            RJA_(NGUYEN)_006411
RJA_(NGUYEN)_001235                            RJA_(NGUYEN)_001271
RJA_(NGUYEN)_007348                            RJA_(NGUYEN)_007406
RJA_(NGUYEN)_008474                            RJA_(NGUYEN)_008530
RJA_(NGUYEN)_010182                            RJA_(NGUYEN)_010241
Plaintiff-Specific Correspondence and Documentation
NGUYEN_0000037
NGUYEN_0000048
NGUYEN_0000078
NGUYEN_0000082
NGUYEN_0000137
NGUYEN_0000143
NGUYEN_0000146
NGUYEN_0000160
NGUYEN_0000202
NGUYEN_0000207
NGUYEN_0000208
NGUYEN_0000209
NGUYEN_0000211
NGUYEN_0000214


                                                                     1
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 48 of 97 PageID 5623
   CONFIDENTIAL

NGUYEN_0000217
NGUYEN_0000311
RJA_(NGUYEN)_003637
RJA_(NGUYEN)_003846
RJA_(NGUYEN)_003898
RJA_(NGUYEN)_004018
RJA_(NGUYEN)_004060
RJA_(NGUYEN)_006233
RJA_(NGUYEN)_006235
RJA_(NGUYEN)_006302
RJA_(NGUYEN)_006466
RJA_(NGUYEN)_010833
RJA_(NGUYEN)_010879
RJA_(NGUYEN)_010943
RJA_(NGUYEN)_011825
RJA_(NGUYEN)_011826
RJA_(NGUYEN)_011830
RJA_(NGUYEN)_011832
RJA_(NGUYEN)_011836
RJA_(NGUYEN)_012250
RJA_(NGUYEN)_012255
RJA_(NGUYEN)_012581
RJA_(NGUYEN)_012886
RJA_(NGUYEN)_012919
RJA_(NGUYEN)_012924
RJA_(NGUYEN)_012928
RJA_(NGUYEN)_012932
RJA_(NGUYEN)_012936
RJA_(NGUYEN)_012938
RJA_(NGUYEN)_012940
RJA_(NGUYEN)_012944
RJA_(NGUYEN)_012947
RJA_(NGUYEN)_012951
RJA_(NGUYEN)_012953


                                                     2
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 49 of 97 PageID 5624
   CONFIDENTIAL

RJA_(NGUYEN)_012955
RJA_(NGUYEN)_012956
RJA_(NGUYEN)_012958
RJA_(NGUYEN)_012994
RJA_(NGUYEN)_013024
RJA_(NGUYEN)_013027
RJA_(NGUYEN)_013112
RJA_(NGUYEN)_013214
RJA_(NGUYEN)_013217
RJA_(NGUYEN)_013366
RJA_(NGUYEN)_013476
RJA_(NGUYEN)_013672
RJA_(NGUYEN)_013787
RJA_(NGUYEN)_013809
RJA_(NGUYEN)_013827
RJA_(NGUYEN)_013959
RJA_(NGUYEN)_014062
RJA_(NGUYEN)_014074
RJA_(NGUYEN)_014256
RJA_(NGUYEN)_014917
RJA_(NGUYEN)_015059
RJA_(NGUYEN)_015068
RJA_(NGUYEN)_015069
RJA_(NGUYEN)_015070
RJA_(NGUYEN)_015072
RJA_(NGUYEN)_015079
RJA_(NGUYEN)_015082
RJA_(NGUYEN)_015088
RJA_(NGUYEN)_015093
RJA_(NGUYEN)_015094
RJA_(NGUYEN)_015129
RJA_(NGUYEN)_015131
RJA_(NGUYEN)_019848
RJA_(NGUYEN)_020169


                                                     3
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 50 of 97 PageID 5625
   CONFIDENTIAL

RJA_(NGUYEN)_021374
RJA_(NGUYEN)_022998
RJA_(NGUYEN)_023025
RJA_(NGUYEN)_023388
RJA_(NGUYEN)_023842
RJA_(NGUYEN)_023907
RJA_(NGUYEN)_059112
RJA_(NGUYEN)_059113
RJA_(NGUYEN)_014055                RJA_(NGUYEN)_014056
RJA_(NGUYEN)_014062                RJA_(NGUYEN)_014064
RJA_(NGUYEN)_012581                RJA_(NGUYEN)_012582
RJA_(NGUYEN)_013366                RJA_(NGUYEN)_013367
RJA_(NGUYEN)_020169                RJA_(NGUYEN)_020169
Compensation & Commissions
RJA_(NGUYEN)_041526                RJA_(NGUYEN)_041526
RJA_(NGUYEN)_041527                RJA_(NGUYEN)_041531
RJA_(NGUYEN)_041532                RJA_(NGUYEN)_041534
RJA_(NGUYEN)_041535                RJA_(NGUYEN)_041536
RJA_(NGUYEN)_041537                RJA_(NGUYEN)_041538
RJA_(NGUYEN)_041539                RJA_(NGUYEN)_041540
RJA_(NGUYEN)_041541                RJA_(NGUYEN)_041542
RJA_(NGUYEN)_041543                RJA_(NGUYEN)_041544
RJA_(NGUYEN)_041545                RJA_(NGUYEN)_041546
RJA_(NGUYEN)_041547                RJA_(NGUYEN)_041547
RJA_(NGUYEN)_041548                RJA_(NGUYEN)_041549
RJA_(NGUYEN)_041550                RJA_(NGUYEN)_041551
RJA_(NGUYEN)_041552                RJA_(NGUYEN)_04153
RJA_(NGUYEN)_041554                RJA_(NGUYEN)_041555
RJA_(NGUYEN)_041556                RJA_(NGUYEN)_041557
RJA_(NGUYEN)_041558                RJA_(NGUYEN)_041559
RJA_(NGUYEN)_041526                RJA_(NGUYEN)_041526
RJA_(NGUYEN)_041527                RJA_(NGUYEN)_041531
RJA_(NGUYEN)_041532                RJA_(NGUYEN)_041534
RJA_(NGUYEN)_041535                RJA_(NGUYEN)_041536


                                                         4
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 51 of 97 PageID 5626
   CONFIDENTIAL

RJA_(NGUYEN)_041537                          RJA_(NGUYEN)_041538
RJA_(NGUYEN)_041539                          RJA_(NGUYEN)_041540
RJA_(NGUYEN)_041541                          RJA_(NGUYEN)_041542
RJA_(NGUYEN)_041543                          RJA_(NGUYEN)_041544
RJA_(NGUYEN)_041545                          RJA_(NGUYEN)_041546
RJA_(NGUYEN)_041547                          RJA_(NGUYEN)_041547
RJA_(NGUYEN)_041548                          RJA_(NGUYEN)_041549
RJA_(NGUYEN)_041550                          RJA_(NGUYEN)_041551
RJA_(NGUYEN)_041552                          RJA_(NGUYEN)_041553
RJA_(NGUYEN)_041554                          RJA_(NGUYEN)_041555
RJA_(NGUYEN)_041556                          RJA_(NGUYEN)_041557
RJA_(NGUYEN)_041558                          RJA_(NGUYEN)_041559
RJA_(NGUYEN)_059100                          RJA_(NGUYEN)_059101
RJA_(NGUYEN)_059102                          RJA_(NGUYEN)_059103
RJA_(NGUYEN)_059104                          RJA_(NGUYEN)_059105
RJA_(NGUYEN)_059106                          RJA_(NGUYEN)_059107
Compliance and Supervisory Manual Sections
RJA_(NGUYEN)_019490                          RJA_(NGUYEN)_019491       Actively Traded Accounts 2014.07.07 to 2016.01.12
RJA_(NGUYEN)_019419                          RJA_(NGUYEN)_019420       Actively Traded Accounts 2014.07.07
RJA_(NGUYEN)_019492                          RJA_(NGUYEN)_019493       Actively Traded Accounts 2016.01.12 to Still Active
RJA_(NGUYEN)_019664                          RJA_(NGUYEN)_019665       Actively Traded Accounts 2016.01.12
RJA_(NGUYEN)_019423                          RJA_(NGUYEN)_019424       Advisory Accounts 2015.09.03 to 2015.12.22
RJA_(NGUYEN)_019494                          RJA_(NGUYEN)_019495       Advisory Accounts 2015.12.22 to 2016.11.23
RJA_(NGUYEN)_019496                          RJA_(NGUYEN)_019497       Advisory Accounts 2016.11.23 to 2016.12.30
RJA_(NGUYEN)_019498                          RJA_(NGUYEN)_019499       Advisory Accounts 2016.12.30 to 2017.03.27
RJA_(NGUYEN)_019577                          RJA_(NGUYEN)_019578       Advisory Accounts 2017.03.27 to 2018.07.23
RJA_(NGUYEN)_019421                          RJA_(NGUYEN)_019422       Advisory Accounts Updated 2014.12.01
RJA_(NGUYEN)_019425                          RJA_(NGUYEN)_019426       Advisory Accounts Updated 2015.12.22
RJA_(NGUYEN)_019500                          RJA_(NGUYEN)_019501       Annual Compliance Meeting 2014.07.07 to 2016.01.12
RJA_(NGUYEN)_019427                          RJA_(NGUYEN)_019428       Annual Compliance Meeting 2014.07.07
RJA_(NGUYEN)_019502                          RJA_(NGUYEN)_019503       Annual Compliance Meeting 2016.01.12 to 2017.04.17
RJA_(NGUYEN)_019668                          RJA_(NGUYEN)_019669       Annual Compliance Meeting 2017.04.17
RJA_(NGUYEN)_019504                          RJA_(NGUYEN)_019506       Client Complaints 2014.02.20 to 2017.06.09
RJA_(NGUYEN)_019428                          RJA_(NGUYEN)_019429       Client Complaints 2014.02.20


                                                                   5
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 52 of 97 PageID 5627
   CONFIDENTIAL

RJA_(NGUYEN)_019670                RJA_(NGUYEN)_019671       Client Complaints 2017.06.09
RJA_(NGUYEN)_019430                RJA_(NGUYEN)_019431       Compliance Audits and Examinations 2014.08.29
RJA_(NGUYEN)_019507                RJA_(NGUYEN)_019508       Compliance Audits and Examinations 2015.10.19 to 2017.05.08

RJA_(NGUYEN)_019432                RJA_(NGUYEN)_019433       Compliance Audits and Examinations 2015.10.19
RJA_(NGUYEN)_019590                RJA_(NGUYEN)_019591       Compliance Audits and Examinations 2017.05.08
RJA_(NGUYEN)_019485                RJA_(NGUYEN)_019486       Compliance Memo 16-01 FA Sales Practice Review 2016.02.08

RJA_(NGUYEN)_019487                RJA_(NGUYEN)_019487       Compliance Memo 16-04 Advisory Trading Inactivity -
                                                             Supervisory Workstation Periodic Alert 2016.04.04
RJA_(NGUYEN)_019488                RJA_(NGUYEN)_019489       Compliance Memo 16-10 Policy Update - Inactive Advisory
                                                             Accounts 2016.12.07
RJA_(NGUYEN)_019509                RJA_(NGUYEN)_019510       Continuing Education - Firm Element 2013.11.20 to 2016.01.12

RJA_(NGUYEN)_019434                RJA_(NGUYEN)_019434       Continuing Education - Firm Element 2013.11.20
RJA_(NGUYEN)_019511                RJA_(NGUYEN)_019512       Continuing Education - Firm Element 2016.01.12 to 2017.03.15

RJA_(NGUYEN)_019672                RJA_(NGUYEN)_019673       Continuing Education - Firm Element 2017.03.15
RJA_(NGUYEN)_019435                RJA_(NGUYEN)_019435       Continuing Education - Regulatory Element 2014.04.14
RJA_(NGUYEN)_019513                RJA_(NGUYEN)_019514       Continuing Education - Regulatory Element 2015.10.16 to
                                                             2016.02.01
RJA_(NGUYEN)_019436                RJA_(NGUYEN)_019436       Continuing Education - Regulatory Element 2015.10.16
RJA_(NGUYEN)_019515                RJA_(NGUYEN)_019516       Continuing Education - Regulatory Element 2016.02.01 to
                                                             2016.12.27
RJA_(NGUYEN)_019517                RJA_(NGUYEN)_019518       Continuing Education - Regulatory Element 2016.12.27 to
                                                             2016.12.27
RJA_(NGUYEN)_019519                RJA_(NGUYEN)_019520       Continuing Education - Regulatory Element 2016.12.27 to
                                                             2017.02.17
RJA_(NGUYEN)_019598                RJA_(NGUYEN)_019599       Continuing Education - Regulatory Element 2017.02.17 to
                                                             2017.02.17
RJA_(NGUYEN)_019602                RJA_(NGUYEN)_019603       Continuing Education - Regulatory Element 2017.02.17
RJA_(NGUYEN)_019437                RJA_(NGUYEN)_019438       Customer Specific Suitability Analysis 2013.10.09
RJA_(NGUYEN)_019439                RJA_(NGUYEN)_019440       Customer Specific Suitability Analysis 2015.07.17
RJA_(NGUYEN)_019441                RJA_(NGUYEN)_019441       Ethics - Corporate Annual Certification 2014.05.20


                                                         6
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 53 of 97 PageID 5628
   CONFIDENTIAL

RJA_(NGUYEN)_019521                RJA_(NGUYEN)_019522       Ethics - Corporate Annual Certification 2015.07.13 to 2016.08.10

RJA_(NGUYEN)_019442                RJA_(NGUYEN)_019442       Ethics - Corporate Annual Certification 2015.07.13
RJA_(NGUYEN)_019523                RJA_(NGUYEN)_019524       Ethics - Corporate Annual Certification 2016.08.10
RJA_(NGUYEN)_019604                RJA_(NGUYEN)_019605       Ethics - Corporate Annual Certification 2016.08.16
RJA_(NGUYEN)_019443                RJA_(NGUYEN)_019443       Fee-Based Accounts - Investment Adviser Representative
                                                             Registrations 2014.10.17
RJA_(NGUYEN)_019525                RJA_(NGUYEN)_019526       Fee-Based Accounts - Investment Adviser Representative
                                                             Registrations 2015.09.11 to 2016.11.23
RJA_(NGUYEN)_019444                RJA_(NGUYEN)_019444       Fee-Based Accounts - Investment Adviser Representative
                                                             Registrations 2015.09.11
RJA_(NGUYEN)_019527                RJA_(NGUYEN)_019528       Fee-Based Accounts - Investment Adviser Representative
                                                             Registrations 2016.11.23 to 2017.03.27
RJA_(NGUYEN)_019678                RJA_(NGUYEN)_019679       Fee-Based Accounts - Investment Adviser Representative
                                                             Registrations 2017.03.27
RJA_(NGUYEN)_019449                RJA_(NGUYEN)_019452       Generally Prohibited Practices 2014.02.12 to 2015.06.02
RJA_(NGUYEN)_019445                RJA_(NGUYEN)_019448       Generally Prohibited Practices 2014.02.12
RJA_(NGUYEN)_019453                RJA_(NGUYEN)_019456       Generally Prohibited Practices 2015.06.02
RJA_(NGUYEN)_019529                RJA_(NGUYEN)_019532       Generally Prohibited Practices 2016.03.16 to 2016.08.03
RJA_(NGUYEN)_019533                RJA_(NGUYEN)_019536       Generally Prohibited Practices 2016.08.03 to 2018.02.20
RJA_(NGUYEN)_019457                RJA_(NGUYEN)_019457       Home Office (32A-36G) Finanical Advisor Supervision 2013.10.03

RJA_(NGUYEN)_019539                RJA_(NGUYEN)_019540       Home Office Non Branch Producer Supervision 2016.05.25 to
                                                             2016.08.05
RJA_(NGUYEN)_019541                RJA_(NGUYEN)_019542       Home Office Non Branch Producer Supervision 2016.08.05
RJA_(NGUYEN)_019537                RJA_(NGUYEN)_019538       Home Office Non Brnch Producer Supervsion 2015.05.19 to
                                                             2016.05.25
RJA_(NGUYEN)_019543                RJA_(NGUYEN)_019543       Intro to RJ&A Policy and Supervision Procedures - Introduction
                                                             2016.06.30
RJA_(NGUYEN)_019544                RJA_(NGUYEN)_019545       Investment Advisory Accounts 2016.10.11 to 2017.03.27
RJA_(NGUYEN)_019618                RJA_(NGUYEN)_019619       Investment Advisory Accounts 2017.03.27 to 2017.06.15
RJA_(NGUYEN)_019620                RJA_(NGUYEN)_019622       Investment Advisory Accounts 2017.06.15 to 2017.06.16
RJA_(NGUYEN)_019623                RJA_(NGUYEN)_019625       Investment Advisory Accounts 2017.06.16 to 2018.03.28
RJA_(NGUYEN)_019686                RJA_(NGUYEN)_019688       Investment Advisory Accounts 2017.06.16 to Still Active


                                                         7
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 54 of 97 PageID 5629
   CONFIDENTIAL

RJA_(NGUYEN)_015127                RJA_(NGUYEN)_015128       Investment Management Account Initial Investment Objective
                                                             Review 2015.07.13 to 2016.06.30
RJA_(NGUYEN)_015125                RJA_(NGUYEN)_015126       Investment Objective Review - Managed Accounts 2016.06.30 to
                                                             2016.08.11
RJA_(NGUYEN)_015123                RJA_(NGUYEN)_015124       Investment Objective Review - Managed Accounts 2016.08.11 to
                                                             2017.06.06
RJA_(NGUYEN)_015121                RJA_(NGUYEN)_015122       Investment Objective Review - Managed Accounts 2017.06.06 to
                                                             2018.01.05
RJA_(NGUYEN)_015119                RJA_(NGUYEN)_015120       Investment Objective Review - Managed Accounts 2018.01.05 to
                                                             2018.01.08
RJA_(NGUYEN)_019458                RJA_(NGUYEN)_019459       Mark-Up, Mark-Down and Commission Guidelines (Retail)
                                                             2014.08.19
RJA_(NGUYEN)_019460                RJA_(NGUYEN)_019461       Mark-Up, Mark-Down and Commission Guidelines (Retail)
                                                             2015.03.30 to 2015.04.21
RJA_(NGUYEN)_019462                RJA_(NGUYEN)_019463       Mark-Up, Mark-Down and Commission Guidelines (Retail)
                                                             2015.04.16
RJA_(NGUYEN)_019626                RJA_(NGUYEN)_019628       Mark-Up, Mark-Down and Commission Guidelines (Retail)
                                                             2016.04.01 to 2017.02.27
RJA_(NGUYEN)_019464                RJA_(NGUYEN)_019464       Mark-Ups and Commissions 2014.07.02
RJA_(NGUYEN)_019546                RJA_(NGUYEN)_019547       Mark-Ups and Commissions 2015.03.17 to 2017.04.04
RJA_(NGUYEN)_019465                RJA_(NGUYEN)_019465       Mark-Ups and Commissions 2015.03.17
RJA_(NGUYEN)_019631                RJA_(NGUYEN)_019632       Mark-Ups and Commissions 2017.04.04 to 2017.09.26
RJA_(NGUYEN)_019633                RJA_(NGUYEN)_019634       Mark-Ups, Downs and Commissions 2017.09.26 to 2017.12.01

RJA_(NGUYEN)_019635                RJA_(NGUYEN)_019636       Mark-Ups, Downs and Commissions 2017.12.01
RJA_(NGUYEN)_015108                RJA_(NGUYEN)_015110       Mutual Funds - Sales Practices 2016.02.01 to 2017.06.09
RJA_(NGUYEN)_015105                RJA_(NGUYEN)_015107       Mutual Funds - Sales Practices 2017.06.09 to 2017.10.13
RJA_(NGUYEN)_015102                RJA_(NGUYEN)_015104       Mutual Funds - Sales Practices 2017.10.13 to 2017.10.13
RJA_(NGUYEN)_015099                RJA_(NGUYEN)_015101       Mutual Funds - Sales Practices 2017.10.13
RJA_(NGUYEN)_019637                RJA_(NGUYEN)_019638       Options - Supervision of Accounts and Suitability
                                                             Recommendations 2016.05.17 to 2018.03.21
RJA_(NGUYEN)_019468                RJA_(NGUYEN)_019469       Options - Supervsion of Accounts and Suitability of
                                                             Recommendations 2015.11.24




                                                         8
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 55 of 97 PageID 5630
   CONFIDENTIAL

RJA_(NGUYEN)_019466                RJA_(NGUYEN)_019467       Options-Supervision of Accounts and Suitability of
                                                             Recommendations 2014.07.07
RJA_(NGUYEN)_019548                RJA_(NGUYEN)_019549       Options-Supervision of Accounts and Suitability of
                                                             Recommendations 2015.11.24 to 2016.05.17
RJA_(NGUYEN)_019550                RJA_(NGUYEN)_019551       Options-Supervision of Accounts and Suitability of
                                                             Recommendations 2016.05.17 to 2018.03.21
RJA_(NGUYEN)_019691                RJA_(NGUYEN)_019692       Options-Supervision of Accounts and Suitability of
                                                             Recommendations 2016.05.17 to Still Active
RJA_(NGUYEN)_019470                RJA_(NGUYEN)_019471       RJA Discretionary Program - Financial Advisor Approval
                                                             2014.09.09
RJA_(NGUYEN)_019472                RJA_(NGUYEN)_019473       RJA Discretionary Program - Financial Advisor Approval
                                                             2015.10.06 to 2015.12.22
RJA_(NGUYEN)_019474                RJA_(NGUYEN)_019475       RJA Discretionary Program - Financial Advisor Approval
                                                             2015.12.22
RJA_(NGUYEN)_019552                RJA_(NGUYEN)_019553       RJA Discretionary Program - Financial Advisor Approval
                                                             2016.11.09 to 2017.03.27
RJA_(NGUYEN)_019641                RJA_(NGUYEN)_019642       RJA Discretionary Program - Financial Advisor Approval
                                                             2017.03.27 to 2017.05.09
RJA_(NGUYEN)_019643                RJA_(NGUYEN)_019644       RJA Discretionary Program - Financial Advisor Approval
                                                             2017.05.09 to 2018.07.23
RJA_(NGUYEN)_019554                RJA_(NGUYEN)_019555       Sales Practice Reviews 2014.09.23 to 2016.03.10
RJA_(NGUYEN)_019476                RJA_(NGUYEN)_019476       Sales Practice Reviews 2014.09.23
RJA_(NGUYEN)_019645                RJA_(NGUYEN)_019646       Sales Practice Reviews 2016.03.10 to 2017.08.04
RJA_(NGUYEN)_019556                RJA_(NGUYEN)_019557       Sales Practice Reviews 2016.03.10 to 2017.08.04
RJA_(NGUYEN)_019647                RJA_(NGUYEN)_019648       Sales Practice Reviews 2017.08.04 to Still Active
RJA_(NGUYEN)_019695                RJA_(NGUYEN)_019696       Sales Practice Reviews 2017.08.04
RJA_(NGUYEN)_019477                RJA_(NGUYEN)_019477       Satellite Office Supervision 2014.08.29
RJA_(NGUYEN)_019558                RJA_(NGUYEN)_019559       Satellite Office Supervision 2015.10.19 to 2016.03.04
RJA_(NGUYEN)_019478                RJA_(NGUYEN)_019478       Satellite Office Supervision 2015.10.19
RJA_(NGUYEN)_019560                RJA_(NGUYEN)_019561       Satellite Office Supervision 2016.03.04 to 2016.06.15
RJA_(NGUYEN)_019562                RJA_(NGUYEN)_019563       Satellite Office Supervision 2016.06.15
RJA_(NGUYEN)_019651                RJA_(NGUYEN)_019652       Suitability 2014.10.06 to 2017.07.07
RJA_(NGUYEN)_019564                RJA_(NGUYEN)_019565       Suitability 2014.10.06 to 2017.07.07
RJA_(NGUYEN)_019479                RJA_(NGUYEN)_019480       Suitability 2014.10.06


                                                         9
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 56 of 97 PageID 5631
   CONFIDENTIAL

RJA_(NGUYEN)_019653                 RJA_(NGUYEN)_019655        Suitability 2017.07.07 to 2018.03.20
RJA_(NGUYEN)_019699                 RJA_(NGUYEN)_019701        Suitability 2017.07.07
RJA_(NGUYEN)_015111                 RJA_(NGUYEN)_015113        Suitability 2018.03.20 to 2019.05.31
Deposition Materials
                                                               Kim Nguyen, Final Deposition Transcript (Jan. 12, 2021)
                                                               Dax Seale, Deposition Transcript, Not Final (May 6, 2021)
                                                               Bill Gross, Rough Deposition Transcript (May 26, 2021), including
                                                               courtesy copy of exhibits
                                                               Chris Thurston, Rough Deposition Transcript (May 21, 2021),
                                                               including courtesy copy of exhibits
FA Guides and Marketing Materials
RJA_(NGUYEN)_036099                 RJA_(NGUYEN)_036203
RJA_(NGUYEN)_040398                 RJA_(NGUYEN)_040411
RJA_(NGUYEN)_040412                 RJA_(NGUYEN)_040425
RJA_(NGUYEN)_040426                 RJA_(NGUYEN)_040439
RJA_(NGUYEN)_040440                 RJA_(NGUYEN)_040453
RJA_(NGUYEN)_040454                 RJA_(NGUYEN)_040467
RJA_(NGUYEN)_040468                 RJA_(NGUYEN)_040481
RJA_(NGUYEN)_040482                 RJA_(NGUYEN)_040495
RJA_(NGUYEN)_040496                 RJA_(NGUYEN)_040509
RJA_(NGUYEN)_040510                 RJA_(NGUYEN)_040522
RJA_(NGUYEN)_040523                 RJA_(NGUYEN)_040526
RJA_(NGUYEN)_040537                 RJA_(NGUYEN)_040550
RJA_(NGUYEN)_036100                 RJA_(NGUYEN)_036203
Forms ADV (2016)
                                                               Forms ADV (2016), LPL FINANCIAL LLC, MWP PROGRAM
                                                               BROCHURE (1.12.2016)
                                                               Forms ADV (2016), LPL FINANCIAL LLC, MWP PROGRAM
                                                               BROCHURE (10.5.2016)
                                                               Forms ADV (2016), LPL FINANCIAL LLC, MWP PROGRAM
                                                               BROCHURE (3.30.2016)
                                                               Forms ADV (2016), LPL FINANCIAL LLC, MWP PROGRAM
                                                               BROCHURE (7.15.2016)




                                                          10
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 57 of 97 PageID 5632
   CONFIDENTIAL

                                                                        Forms ADV (2016), MORGAN STANLEY CONSULTING GROUP
                                                                        ADVISOR PROGRAM BROCHURE (3.30.2016)
                                                                        Forms ADV (2016), MORGAN STANLEY CONSULTING GROUP
                                                                        ADVISOR PROGRAM BROCHURE (6.17.2016)
                                                                        Forms ADV (2016), MORGAN STANLEY CONSULTING GROUP
                                                                        ADVISOR PROGRAM BROCHURE (8.10.2016)
                                                                        Forms ADV (2016), UBS SWISS FINANCIAL ADVISERS WRAP FEE
                                                                        PROGRAM BROCHURE (PART 2(A) FOR MANAGED PROGRAMS)
                                                                        (3.24.2016)
Investment Committee Minutes and Related Materials
RJA_(NGUYEN)_041890                          RJA_(NGUYEN)_041891
RJA_(NGUYEN)_041894                          RJA_(NGUYEN)_041950
RJA_(NGUYEN)_041892                          RJA_(NGUYEN)_041893
RJA_(NGUYEN)_041953                          RJA_(NGUYEN)_041998
RJA_(NGUYEN)_041951                          RJA_(NGUYEN)_041952
RJA_(NGUYEN)_042001                          RJA_(NGUYEN)_042023
RJA_(NGUYEN)_041999                          RJA_(NGUYEN)_042000
RJA_(NGUYEN)_042026                          RJA_(NGUYEN)_042048
RJA_(NGUYEN)_042024                          RJA_(NGUYEN)_042025
RJA_(NGUYEN)_042049                          RJA_(NGUYEN)_042050
RJA_(NGUYEN)_042051                          RJA_(NGUYEN)_042052
RJA_(NGUYEN)_042053                          RJA_(NGUYEN)_042054
RJA_(NGUYEN)_042055                          RJA_(NGUYEN)_042056
RJA_(NGUYEN)_043110                          RJA_(NGUYEN)_043110
RJA_(NGUYEN)_043111                          RJA_(NGUYEN)_043111
RJA_(NGUYEN)_043112                          RJA_(NGUYEN)_043112
RJA_(NGUYEN)_043113                          RJA_(NGUYEN)_043113
RJA_(NGUYEN)_043114                          RJA_(NGUYEN)_043114
RJA_(NGUYEN)_043109                          RJA_(NGUYEN)_043109
RJA_(NGUYEN)_042059                          RJA_(NGUYEN)_042100
RJA_(NGUYEN)_042057                          RJA_(NGUYEN)_042058
RJA_(NGUYEN)_042103                          RJA_(NGUYEN)_042138
RJA_(NGUYEN)_042101                          RJA_(NGUYEN)_042102
RJA_(NGUYEN)_042141                          RJA_(NGUYEN)_042178


                                                                   11
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 58 of 97 PageID 5633
   CONFIDENTIAL

RJA_(NGUYEN)_042139                RJA_(NGUYEN)_042140
RJA_(NGUYEN)_042179                RJA_(NGUYEN)_042180
RJA_(NGUYEN)_042181                RJA_(NGUYEN)_042236
RJA_(NGUYEN)_042239                RJA_(NGUYEN)_042284
RJA_(NGUYEN)_042237                RJA_(NGUYEN)_042238
RJA_(NGUYEN)_042287                RJA_(NGUYEN)_042312
RJA_(NGUYEN)_042285                RJA_(NGUYEN)_042286
RJA_(NGUYEN)_042314                RJA_(NGUYEN)_042326
RJA_(NGUYEN)_042313                RJA_(NGUYEN)_042313
RJA_(NGUYEN)_042330                RJA_(NGUYEN)_042342
RJA_(NGUYEN)_042327                RJA_(NGUYEN)_042329
RJA_(NGUYEN)_042345                RJA_(NGUYEN)_042403
RJA_(NGUYEN)_042343                RJA_(NGUYEN)_042344
RJA_(NGUYEN)_042404                RJA_(NGUYEN)_042443
RJA_(NGUYEN)_042444                RJA_(NGUYEN)_042482
RJA_(NGUYEN)_042483                RJA_(NGUYEN)_042484
RJA_(NGUYEN)_042485                RJA_(NGUYEN)_042510
RJA_(NGUYEN)_042511                RJA_(NGUYEN)_042568
RJA_(NGUYEN)_042569                RJA_(NGUYEN)_042608
RJA_(NGUYEN)_042609                RJA_(NGUYEN)_042644
RJA_(NGUYEN)_042645                RJA_(NGUYEN)_042693
RJA_(NGUYEN)_042694                RJA_(NGUYEN)_042736
RJA_(NGUYEN)_043116                RJA_(NGUYEN)_043116
RJA_(NGUYEN)_043115                RJA_(NGUYEN)_043115
RJA_(NGUYEN)_042737                RJA_(NGUYEN)_042777
RJA_(NGUYEN)_042778                RJA_(NGUYEN)_042844
RJA_(NGUYEN)_042845                RJA_(NGUYEN)_042879
RJA_(NGUYEN)_042880                RJA_(NGUYEN)_042925
RJA_(NGUYEN)_042926                RJA_(NGUYEN)_042952
RJA_(NGUYEN)_042953                RJA_(NGUYEN)_042985
RJA_(NGUYEN)_042986                RJA_(NGUYEN)_043023
RJA_(NGUYEN)_043024                RJA_(NGUYEN)_043041
RJA_(NGUYEN)_043042                RJA_(NGUYEN)_043052
RJA_(NGUYEN)_043053                RJA_(NGUYEN)_043081


                                                         12
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 59 of 97 PageID 5634
   CONFIDENTIAL

RJA_(NGUYEN)_043082                RJA_(NGUYEN)_043087
RJA_(NGUYEN)_043088                RJA_(NGUYEN)_043093
RJA_(NGUYEN)_043094                RJA_(NGUYEN)_043108
Pleadings and Filings
                                                              [DE 46] Plaintiff's Corrected Amended Class Complaint
                                                              [DE 50] RJA Motion to Dismiss Amended Complaint (with
                                                              Exhibits)
                                                              [DE 59] Plaintiff's Opposition to RJA's Motion to Dismiss
                                                              Corrected Amended Complaint
                                                              [DE 70] RJA's Reply in Support of Motion to Dismiss Amended
                                                              Complaint
                                                              [DE 87] Amended Case Management Report
                                                              [DE 88] Plaintiff's Motion to Compel Production & Expedite
                                                              Briefing
                                                              [DE 91] RJA's Response in Opposition to Plaintiff's Motion to
                                                              Compel
                                                              [DE 92] Order Denying Plaintiff's Motion to Compel
                                                              [DE 93] RJA's Motion to Compel Plaintiff's Discovery Production
                                                              and Interrogatory Responses
                                                              [DE 94] Plaintiff's Opposition to RJA's Motion to Compel
                                                              Production & Responses
                                                              [DE 95] Plaintiff's Motion for Protective Order Precluding
                                                              Disclosure
                                                              [DE 96] RJA's Opposition to Motion for Protective Order (TD
                                                              Ameritrade)
                                                              [DE 110] RJA's Notice of Filing Demonstrative Exhibits from 3-5-
                                                              21 Hearing
                                                              [DE 116] Order on Motion to Dismiss
                                                              [DE 117] Second Amended Class Action Complaint
                                                              [DE 118] Second Amended Case Management & Scheduling
                                                              Order
                                                              [DE 122] RJA's Motion to Dismiss Plaintiff's Second Amended
                                                              Complaint
Discovery Requests and Responses


                                                         13
              Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 60 of 97 PageID 5635
    CONFIDENTIAL

                                                               2020-10-19 Plaintiff's Response to First Set of Interrogatories

                                                               2020-10-19 RJA's Responses to Plaintiff's First Set of
                                                               Interrogatories
                                                               2020-11-02 Plaintiff's Response to RJA's Requests for Admission

                                                               2020-12-30 Plaintiff's Third Requests for Production
                                                               2021-01-04 Plaintiff's Amended Responses to RJA's Requests for
                                                               Admission
                                                               2021-01-29 RJA's Responses to Plaintiff's Third Requests for
                                                               Production of Documents
RFP 51 & 52 Charts
RJA_(NGUYEN)_058468                 RJA_(NGUYEN)_058468
RJA_(NGUYEN)_058469                 RJA_(NGUYEN)_058469
RJA_(NGUYEN)_059060                 RJA_(NGUYEN)_059060
RJA_(NGUYEN)_059061                 RJA_(NGUYEN)_059061
RJA_(NGUYEN)_059062                 RJA_(NGUYEN)_059062
RJA_(NGUYEN)_059063                 RJA_(NGUYEN)_059063
Regulations and Legal Resources
                                                               Proposed Rule - Regulation Best Interest (Apr. 18, 2018)
                                                               Securities and Exchange Commission, Commission Interpretation
                                                               Regarding Standard of Conduct for Investment Advisers (June 5,
                                                               2019)
                                                               Final Rule - Regulation Best Interest (June 5, 2019)
                                                               Ford v. TD Ameritrade , 995 F.3d 616 (8th Cir. 2021)
                                                               Securities and Exchange Commission, National Exam Program,
                                                               Examination Priorities for 2013 (Feb. 21, 2013)
                                                               Additional materials cited in the report itself.
Statements & Confirms
RJA_(NGUYEN)_008418                 RJA_(NGUYEN)_008423
RJA_(NGUYEN)_014895                 RJA_(NGUYEN)_014896
RJA_(NGUYEN)_008260                 RJA_(NGUYEN)_008265
RJA_(NGUYEN)_014875                 RJA_(NGUYEN)_014880
RJA_(NGUYEN)_014897                 RJA_(NGUYEN)_014902


                                                          14
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 61 of 97 PageID 5636
   CONFIDENTIAL

RJA_(NGUYEN)_014855                RJA_(NGUYEN)_014860
RJA_(NGUYEN)_014839                RJA_(NGUYEN)_014844
RJA_(NGUYEN)_014823                RJA_(NGUYEN)_014828
RJA_(NGUYEN)_014803                RJA_(NGUYEN)_014806
RJA_(NGUYEN)_014788                RJA_(NGUYEN)_014790
RJA_(NGUYEN)_014771                RJA_(NGUYEN)_014773
RJA_(NGUYEN)_014755                RJA_(NGUYEN)_014756
RJA_(NGUYEN)_014740                RJA_(NGUYEN)_014741
RJA_(NGUYEN)_014727                RJA_(NGUYEN)_014728
RJA_(NGUYEN)_014705                RJA_(NGUYEN)_014706
RJA_(NGUYEN)_014690                RJA_(NGUYEN)_014691
RJA_(NGUYEN)_014677                RJA_(NGUYEN)_014678
RJA_(NGUYEN)_014657                RJA_(NGUYEN)_014658
RJA_(NGUYEN)_014642                RJA_(NGUYEN)_014643
RJA_(NGUYEN)_014629                RJA_(NGUYEN)_014630
RJA_(NGUYEN)_014603                RJA_(NGUYEN)_014604
RJA_(NGUYEN)_014590                RJA_(NGUYEN)_014591
RJA_(NGUYEN)_014577                RJA_(NGUYEN)_014578
RJA_(NGUYEN)_014559                RJA_(NGUYEN)_014560
RJA_(NGUYEN)_014544                RJA_(NGUYEN)_014546
RJA_(NGUYEN)_014531                RJA_(NGUYEN)_014532
RJA_(NGUYEN)_014513                RJA_(NGUYEN)_014514
RJA_(NGUYEN)_014497                RJA_(NGUYEN)_014499
RJA_(NGUYEN)_014484                RJA_(NGUYEN)_014485
RJA_(NGUYEN)_014466                RJA_(NGUYEN)_014467
RJA_(NGUYEN)_014451                RJA_(NGUYEN)_014452
RJA_(NGUYEN)_014436                RJA_(NGUYEN)_014437
RJA_(NGUYEN)_014412                RJA_(NGUYEN)_014413
RJA_(NGUYEN)_014399                RJA_(NGUYEN)_014400
RJA_(NGUYEN)_014386                RJA_(NGUYEN)_014387
RJA_(NGUYEN)_014370                RJA_(NGUYEN)_014371
RJA_(NGUYEN)_014357                RJA_(NGUYEN)_014358
RJA_(NGUYEN)_014344                RJA_(NGUYEN)_014345
RJA_(NGUYEN)_014324                RJA_(NGUYEN)_014325


                                                         15
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 62 of 97 PageID 5637
   CONFIDENTIAL

RJA_(NGUYEN)_014294                RJA_(NGUYEN)_014295
RJA_(NGUYEN)_014276                RJA_(NGUYEN)_014277
RJA_(NGUYEN)_014263                RJA_(NGUYEN)_014264
RJA_(NGUYEN)_014256                RJA_(NGUYEN)_014257
RJA_(NGUYEN)_014309                RJA_(NGUYEN)_014311
RJA_(NGUYEN)_006532                RJA_(NGUYEN)_006537
RJA_(NGUYEN)_014881                RJA_(NGUYEN)_014884
RJA_(NGUYEN)_014903                RJA_(NGUYEN)_014904
RJA_(NGUYEN)_014861                RJA_(NGUYEN)_014864
RJA_(NGUYEN)_014845                RJA_(NGUYEN)_014846
RJA_(NGUYEN)_014829                RJA_(NGUYEN)_014830
RJA_(NGUYEN)_014807                RJA_(NGUYEN)_014809
RJA_(NGUYEN)_014791                RJA_(NGUYEN)_014791
RJA_(NGUYEN)_014774                RJA_(NGUYEN)_014774
RJA_(NGUYEN)_014757                RJA_(NGUYEN)_014758
RJA_(NGUYEN)_014742                RJA_(NGUYEN)_014742
RJA_(NGUYEN)_014729                RJA_(NGUYEN)_014729
RJA_(NGUYEN)_014707                RJA_(NGUYEN)_014708
RJA_(NGUYEN)_014692                RJA_(NGUYEN)_014692
RJA_(NGUYEN)_014679                RJA_(NGUYEN)_014679
RJA_(NGUYEN)_014659                RJA_(NGUYEN)_014660
RJA_(NGUYEN)_014644                RJA_(NGUYEN)_014644
RJA_(NGUYEN)_014631                RJA_(NGUYEN)_014631
RJA_(NGUYEN)_014605                RJA_(NGUYEN)_014607
RJA_(NGUYEN)_014592                RJA_(NGUYEN)_014592
RJA_(NGUYEN)_014579                RJA_(NGUYEN)_014579
RJA_(NGUYEN)_014561                RJA_(NGUYEN)_014562
RJA_(NGUYEN)_014547                RJA_(NGUYEN)_014547
RJA_(NGUYEN)_014533                RJA_(NGUYEN)_014533
RJA_(NGUYEN)_014515                RJA_(NGUYEN)_014516
RJA_(NGUYEN)_014500                RJA_(NGUYEN)_014500
RJA_(NGUYEN)_014486                RJA_(NGUYEN)_014486
RJA_(NGUYEN)_014468                RJA_(NGUYEN)_014469
RJA_(NGUYEN)_014453                RJA_(NGUYEN)_014454


                                                         16
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 63 of 97 PageID 5638
   CONFIDENTIAL

RJA_(NGUYEN)_014438                RJA_(NGUYEN)_014438
RJA_(NGUYEN)_014414                RJA_(NGUYEN)_014415
RJA_(NGUYEN)_014401                RJA_(NGUYEN)_014401
RJA_(NGUYEN)_014388                RJA_(NGUYEN)_014388
RJA_(NGUYEN)_014372                RJA_(NGUYEN)_014372
RJA_(NGUYEN)_014359                RJA_(NGUYEN)_014359
RJA_(NGUYEN)_014346                RJA_(NGUYEN)_014346
RJA_(NGUYEN)_014326                RJA_(NGUYEN)_014326
RJA_(NGUYEN)_014296                RJA_(NGUYEN)_014296
RJA_(NGUYEN)_014278                RJA_(NGUYEN)_014278
RJA_(NGUYEN)_014265                RJA_(NGUYEN)_014265
RJA_(NGUYEN)_014312                RJA_(NGUYEN)_014312
RJA_(NGUYEN)_007430                RJA_(NGUYEN)_007453
RJA_(NGUYEN)_014796                RJA_(NGUYEN)_014802
RJA_(NGUYEN)_014779                RJA_(NGUYEN)_014787
RJA_(NGUYEN)_014763                RJA_(NGUYEN)_014770
RJA_(NGUYEN)_014747                RJA_(NGUYEN)_014754
RJA_(NGUYEN)_014734                RJA_(NGUYEN)_014739
RJA_(NGUYEN)_014714                RJA_(NGUYEN)_014726
RJA_(NGUYEN)_014697                RJA_(NGUYEN)_014704
RJA_(NGUYEN)_014684                RJA_(NGUYEN)_014689
RJA_(NGUYEN)_014665                RJA_(NGUYEN)_014676
RJA_(NGUYEN)_014649                RJA_(NGUYEN)_014656
RJA_(NGUYEN)_014635                RJA_(NGUYEN)_014641
RJA_(NGUYEN)_014614                RJA_(NGUYEN)_014628
RJA_(NGUYEN)_014596                RJA_(NGUYEN)_014602
RJA_(NGUYEN)_014583                RJA_(NGUYEN)_014589
RJA_(NGUYEN)_014567                RJA_(NGUYEN)_014576
RJA_(NGUYEN)_014551                RJA_(NGUYEN)_014558
RJA_(NGUYEN)_014537                RJA_(NGUYEN)_014543
RJA_(NGUYEN)_014521                RJA_(NGUYEN)_014530
RJA_(NGUYEN)_014504                RJA_(NGUYEN)_014512
RJA_(NGUYEN)_014490                RJA_(NGUYEN)_014496
RJA_(NGUYEN)_014474                RJA_(NGUYEN)_014483


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             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 64 of 97 PageID 5639
   CONFIDENTIAL

RJA_(NGUYEN)_014458                RJA_(NGUYEN)_014465
RJA_(NGUYEN)_014443                RJA_(NGUYEN)_014450
RJA_(NGUYEN)_014423                RJA_(NGUYEN)_014435
RJA_(NGUYEN)_014405                RJA_(NGUYEN)_014411
RJA_(NGUYEN)_014392                RJA_(NGUYEN)_014398
RJA_(NGUYEN)_014377                RJA_(NGUYEN)_014385
RJA_(NGUYEN)_014363                RJA_(NGUYEN)_014369
RJA_(NGUYEN)_014350                RJA_(NGUYEN)_014356
RJA_(NGUYEN)_014331                RJA_(NGUYEN)_014343
RJA_(NGUYEN)_014301                RJA_(NGUYEN)_014308
RJA_(NGUYEN)_014270                RJA_(NGUYEN)_014275
RJA_(NGUYEN)_014260                RJA_(NGUYEN)_014262
RJA_(NGUYEN)_014317                RJA_(NGUYEN)_014323
RJA_(NGUYEN)_014283                RJA_(NGUYEN)_014293
RJA_(NGUYEN)_002433                RJA_(NGUYEN)_002464
RJA_(NGUYEN)_004470                RJA_(NGUYEN)_004489
RJA_(NGUYEN)_004402                RJA_(NGUYEN)_004417
RJA_(NGUYEN)_004340                RJA_(NGUYEN)_004355
RJA_(NGUYEN)_004288                RJA_(NGUYEN)_004299
RJA_(NGUYEN)_007464                RJA_(NGUYEN)_007470
RJA_(NGUYEN)_007457                RJA_(NGUYEN)_007463
RJA_(NGUYEN)_014905                RJA_(NGUYEN)_014916
RJA_(NGUYEN)_014885                RJA_(NGUYEN)_014894
RJA_(NGUYEN)_014865                RJA_(NGUYEN)_014874
RJA_(NGUYEN)_014847                RJA_(NGUYEN)_014854
RJA_(NGUYEN)_014831                RJA_(NGUYEN)_014838
RJA_(NGUYEN)_014810                RJA_(NGUYEN)_014822
RJA_(NGUYEN)_014792                RJA_(NGUYEN)_014795
RJA_(NGUYEN)_014775                RJA_(NGUYEN)_014778
RJA_(NGUYEN)_014759                RJA_(NGUYEN)_014762
RJA_(NGUYEN)_014743                RJA_(NGUYEN)_014746
RJA_(NGUYEN)_014730                RJA_(NGUYEN)_014733
RJA_(NGUYEN)_014709                RJA_(NGUYEN)_014713
RJA_(NGUYEN)_014693                RJA_(NGUYEN)_014696


                                                         18
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 65 of 97 PageID 5640
   CONFIDENTIAL

RJA_(NGUYEN)_014680                RJA_(NGUYEN)_014683
RJA_(NGUYEN)_014661                RJA_(NGUYEN)_014664
RJA_(NGUYEN)_014645                RJA_(NGUYEN)_014648
RJA_(NGUYEN)_014632                RJA_(NGUYEN)_014634
RJA_(NGUYEN)_014608                RJA_(NGUYEN)_014613
RJA_(NGUYEN)_014593                RJA_(NGUYEN)_014595
RJA_(NGUYEN)_014580                RJA_(NGUYEN)_014582
RJA_(NGUYEN)_014563                RJA_(NGUYEN)_014566
RJA_(NGUYEN)_014548                RJA_(NGUYEN)_014550
RJA_(NGUYEN)_014534                RJA_(NGUYEN)_014536
RJA_(NGUYEN)_014517                RJA_(NGUYEN)_014520
RJA_(NGUYEN)_014501                RJA_(NGUYEN)_014503
RJA_(NGUYEN)_014487                RJA_(NGUYEN)_014489
RJA_(NGUYEN)_014470                RJA_(NGUYEN)_014473
RJA_(NGUYEN)_014455                RJA_(NGUYEN)_014457
RJA_(NGUYEN)_014439                RJA_(NGUYEN)_014442
RJA_(NGUYEN)_014416                RJA_(NGUYEN)_014422
RJA_(NGUYEN)_014402                RJA_(NGUYEN)_014404
RJA_(NGUYEN)_014389                RJA_(NGUYEN)_014391
RJA_(NGUYEN)_014373                RJA_(NGUYEN)_014376
RJA_(NGUYEN)_014360                RJA_(NGUYEN)_014362
RJA_(NGUYEN)_014347                RJA_(NGUYEN)_014349
RJA_(NGUYEN)_014327                RJA_(NGUYEN)_014330
RJA_(NGUYEN)_014297                RJA_(NGUYEN)_014300
RJA_(NGUYEN)_014279                RJA_(NGUYEN)_014282
RJA_(NGUYEN)_014266                RJA_(NGUYEN)_014269
RJA_(NGUYEN)_014258                RJA_(NGUYEN)_014259
RJA_(NGUYEN)_014313                RJA_(NGUYEN)_014316
TD Ameritrade Statements
TDA000004                          TDA000279
TDA000283                          TDA000288
TDA000292                          TDA000453
TDA000454                          TDA000774
TDA000782                          TDA000961


                                                         19
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 66 of 97 PageID 5641
   CONFIDENTIAL

TDA000967                          TDA000997
Vanguard Statements (Select)
NGUYEN_001739                      NGUYEN_001741
NGUYEN_001527                      NGUYEN_001538
NGUYEN_001581                      NGUYEN_001598
NGUYEN_001659                      NGUYEN_001678
NGUYEN_001161                      NGUYEN_001174
NGUYEN_001223                      NGUYEN_001236
NGUYEN_001267                      NGUYEN_001282
NGUYEN_001301                      NGUYEN_001314
NGUYEN_001333                      NGUYEN_001348
NGUYEN_001381                      NGUYEN_001396
NGUYEN_001415                      NGUYEN_001428
NGUYEN_001447                      NGUYEN_001460
NGUYEN_001491                      NGUYEN_001506
NGUYEN_001549                      NGUYEN_001562
NGUYEN_001617                      NGUYEN_001630
NGUYEN_001707                      NGUYEN_001726
NGUYEN_001193                      NGUYEN_001204
NGUYEN_001735                      NGUYEN_001738
NGUYEN_001515                      NGUYEN_001526
NGUYEN_001571                      NGUYEN_001580
NGUYEN_001645                      NGUYEN_001658
NGUYEN_001151                      NGUYEN_001160
NGUYEN_001213                      NGUYEN_001222
NGUYEN_001257                      NGUYEN_001266
NGUYEN_001291                      NGUYEN_001300
NGUYEN_001323                      NGUYEN_001332
NGUYEN_001369                      NGUYEN_001380
NGUYEN_001405                      NGUYEN_001414
NGUYEN_001437                      NGUYEN_001446
NGUYEN_001481                      NGUYEN_001490
NGUYEN_001539                      NGUYEN_001548
NGUYEN_001607                      NGUYEN_001616


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             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 67 of 97 PageID 5642
   CONFIDENTIAL

NGUYEN_001693                      NGUYEN_001706
NGUYEN_001183                      NGUYEN_001192
Edward Jones Statements
NGUYEN_001746                      NGUYEN_001753
NGUYEN_001762                      NGUYEN_001770
NGUYEN_001779                      NGUYEN_001789
NGUYEN_001798                      NGUYEN_001806
NGUYEN_001816                      NGUYEN_001824
NGUYEN_001833                      NGUYEN_001843
NGUYEN_001852                      NGUYEN_001855
NGUYEN_001863                      NGUYEN_001867
NGUYEN_001876                      NGUYEN_001880
NGUYEN_001885                      NGUYEN_001888
NGUYEN_001893                      NGUYEN_001896
NGUYEN_001902                      NGUYEN_001906
NGUYEN_001754                      NGUYEN_001757
NGUYEN_001771                      NGUYEN_001774
NGUYEN_001790                      NGUYEN_001793
NGUYEN_001807                      NGUYEN_001810
NGUYEN_001825                      NGUYEN_001828
NGUYEN_001844                      NGUYEN_001847
NGUYEN_001856                      NGUYEN_001859
NGUYEN_001868                      NGUYEN_001871
NGUYEN_001881                      NGUYEN_001884
NGUYEN_001889                      NGUYEN_001892
NGUYEN_001897                      NGUYEN_001901
NGUYEN_001907                      NGUYEN_001910
NGUYEN_001758                      NGUYEN_001761
NGUYEN_001775                      NGUYEN_001778
NGUYEN_001794                      NGUYEN_001797
NGUYEN_001811                      NGUYEN_001815
NGUYEN_001829                      NGUYEN_001832
NGUYEN_001848                      NGUYEN_001851
NGUYEN_001860                      NGUYEN_001862


                                                     21
             Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 68 of 97 PageID 5643
   CONFIDENTIAL

NGUYEN_001872                               NGUYEN_001875
NGUYEN_001911                               NGUYEN_001914
NGUYEN_001915                               NGUYEN_001918
NGUYEN_001919                               NGUYEN_001922
Documents Cited in Second Amended Complaint
RJA_(NGUYEN)_044886
RJA_(NGUYEN)_044669
RJA_(NGUYEN)_043502
RJA_(NGUYEN)_034643
RJA_(NGUYEN)_029784
RJA_(NGUYEN)_029336
RJA_(NGUYEN)_019922
RJA_(NGUYEN)_019783
RJA_(NGUYEN)_012336




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 69 of 97 PageID 5644




                              EXHIBIT 2
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 70 of 97 PageID 5645
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   KIMBERLY NGUYEN, On Behalf of
   Herself and All Others Similarly Situated,

          Plaintiff,

   v.                                                  Case No. 8:20-cv-195-CEH-AAS

   RAYMOND JAMES & ASSOCIATES, INC.,

          Defendant.

   _____________________________________




                       REBUTTAL EXPERT REPORT OF JOSEPH J. THOMAS




                                            June 25, 2021
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 71 of 97 PageID 5646
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

                                  Qualifications and Compensation

   My qualifications and compensation remain unchanged from when that information was
   provided in my expert report, served in this case on June 4, 2021 (“my Expert Report”).

                                              Assignment

   I have been asked by counsel for Raymond James to review the Report of Douglas J. Schulz re
   Class Certification served in this case on June 4, 2021 (the “Schulz Report”) and to (i) address
   the assumptions Mr. Schulz used in drawing his conclusions, (ii) identify any deficiencies in Mr.
   Schulz’s approach, and (iii) make a determination of the reliability of Mr. Schulz’s approach,
   methodology, and conclusions.

                                         Materials Reviewed

   In addition to the materials I reviewed in reaching the opinions expressed in my Expert Report, I
   have reviewed the Schulz Report and the Expert Report of Arthur Olsen re Class Certification
   (the “Olson Report”) dated June 4, 2021, as well as certain materials to which the Schulz Report
   and Olson Report refer. These additional materials are discussed below, and are listed in Exhibit
   1 attached hereto.

                                               Findings

   When I wrote my Expert Report, I reserved the right to amend my opinions based on any
   additional data that I received or was made aware of. After multiple readings of the Schulz
   Report, I stand by the conclusions I expressed in my Expert Report.

   General Concerns

   In my review of the Schulz Report, I note many issues in his summary conclusions that are (i)
   inconsistent with industry standards, (ii) unsupported by the FINRA Rules and/or the accepted
   norms in the securities industry, and (iii) require discerning and critical consideration:
   1)     In paragraph 20(a) of his report, Mr. Schulz states:
          FINRA Rules and Notices to Members reflect minimum industry standards,
          including that broker-dealers have obligations to ensure that an account type is
          and remains suitable for a particular customer, and that registered financial
          advisors must document their analyses as to why an account type is suitable.
   Throughout his report, Mr. Schulz inappropriately expands the provisions of the FINRA rules in
   force during the 2015-2018 timeframe and reads into the FINRA Rules provisions that were not
   part of those rules during the applicable period. The FINRA Rules did not then, and do not now,
   specifically identify “account type” as a component of a financial advisor’s suitability analysis,
   or that such a recommendation must “remain” suitable. The determination of suitability is
   evaluated at that time of the recommended transaction or at the time of a client implementing an

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 72 of 97 PageID 5647
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   investment strategy. This is a sensible rule, given that no financial advisor has a crystal ball to
   see into the future of the often unpredictable financial markets or a client’s changing
   circumstances. Suitability, as outlined in Rule 2111, is that “A member or an associated person
   must have a reasonable basis to believe that a recommended transaction or investment
   strategy involving a security is suitable for the customer”1 (emphasis added). This FINRA Rule
   requires that a financial advisor have a “reasonable basis” for his or her recommendation, and not
   an ongoing obligation to “ensure” that the security or investment strategy recommended is – and
   always will be – suitable (as wrongly stated by Mr. Schulz).
   A financial advisor must make reasonable efforts to understand the client’s investment profile,
   including their objectives, investment experience, risk tolerance, time horizon, other investments,
   and apply that knowledge in making a suitable recommendation at the time of the investment or
   at the time of initiating an investment strategy.
   Plaintiff’s financial advisor, Mr. Dax Seale, documented the components that are part of the
   suitability analysis in the account records of the firm.2 During the time period at issue in this
   case, there were no FINRA Rules that specifically required a member to ensure that an account
   type was suitable at inception. Similarly, there were no FINRA Rules or industry standards,
   custom, or practice that required a member to ensure ongoing suitability after inception, whether
   of a security recommendation, account type recommendation, or otherwise.
   Mr. Schulz’s statement that “advisors must document their analyses as to why an account type is
   suitable” was not an industry standard, custom, or practice at the time, and this issue is addressed
   in more detail below.
   2)        In paragraph 20(b) of his report, Mr. Schulz states:
             Fee-based Freedom Accounts are not suitable for customers with low trading
             volume/buy-and-hold accounts. For example, fee-based Freedom Accounts are
             not suitable for low trading volume accounts because they cost excessive capital
             impairment for little, if any, corresponding benefit.
   I do not agree with Mr. Schulz’s overbroad and categorical statement. As a threshold matter, Mr.
   Schulz’s unprecedented efforts to make suitability determinations for tens of thousands of
   individual investors based on a couple of data points fails to take into consideration the most
   basic suitability requirements, i.e., that a recommendation be made. It is impossible to know
   whether an investment or investment strategy even required a suitability analysis without
   knowing whether a recommendation was made. To generalize that a fee based managed
   portfolio is not suitable based on “low trading volume accounts,” also ignores the underlying
   individual circumstances that would need to be evaluated before making a recommendation
   related to the Freedom Account. As discussed above, the suitability of the recommendation is
   evaluated and determined at the time of the recommendation and depends on the unique
   circumstances for each individual client. Mr. Schulz does not provide a specific definition of

   1
       FINRA Rule 2111.
   2
       RJA_(NGUYEN)_003846-003878; Deposition of Dax Seale (May 6, 2021) (“Seale Depo.”), p. 134:17-142:8.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 73 of 97 PageID 5648
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   “low trading activity,” and his methodology in selecting a single period of time and a single
   account (the funding account), over the lifetime of an investor, is akin to “cherry picking” in
   order to isolate a time where minimal trades occurred.
   There are significant benefits to a client in a managed portfolio, not the least of which are
   monitoring of the investments and automatic rebalancing to meet the client’s objectives. In fact,
   for someone like the Plaintiff here, Ms. Nguyen, who expressed a desire to have someone else
   take the reins for her investments, that naturally meant periodic trading to align the account with
   the ever-changing markets. As such, the Freedom Account was a suitable option for her.
      3) In paragraph 20(c) of his report, Mr. Schulz states:
          Low trading volume/buy-and-hold accounts can be objectively determined by
          reference to the two metrics set forth below. In other words, if the trading activity
          in a commission-based account was below both of the two objective metrics set
          forth below, then in no event is a fee-based Freedom Account suitable for that
          customer.
                  i. Annual Cost Analysis – One metric/formula for evaluating a low trading
                  volume/buy-and-hold investor is one who only incurs commission-based
                  fees that are less than or equal to a certain percentage of their account
                  value. If an account has less than or equal to a 0.5% annual cost, then the
                  investor is low trading volume/buy-and-hold.
                  ii. Annual Turnover Analysis – One metric/formula for evaluating a low
                  trading volume/buy-and-hold investor is one who “turns over” (i.e., swaps
                  in and out) a percentage of the assets in their account in a 12-month
                  period. If an account has less than or equal to a 0.25 turnover, then the
                  investor is low trading volume/buy-and-hold.
   These above categorical and absolute conclusions – (i) If an account has less than or equal to a
   0.5% annual cost, then the investor is low trading volume/buy-and-hold (ii) If an account has less
   than or equal to a 0.25 turnover, then the investor is low trading volume/buy-and-hold – are not
   based on any accepted industry standards or peer reviewed or scientific principles, and Mr.
   Schulz points to none. Even if Mr. Schulz’s two benchmarks above were valid and accepted in
   the industry (they are not), a failure to meet the benchmarks does not result in an investment or
   account type being unsuitable. There are myriad reasons why a low turnover rate and low annual
   cost may be found in an investor’s commission-based account, even though a managed account
   is suitable for their situation. This could include, but is not limited to, (i) a change in life
   situation, (ii) a client becoming more educated about investing, (iii) a client determining to move
   out of one asset allocation and pursue another asset allocation through a Freedom model, (iv) an
   infusion of new money or assets into the commission account, (v) an occurrence in another
   investment account that the client owns, or (vi) an investor who is holding a large cash position.
   Mr. Schulz’s reliance on nothing but his self-selected data points ignores the analysis that
   FINRA Rule 2111 requires when a financial advisor makes a recommendation regarding a

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 74 of 97 PageID 5649
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   security or investment strategy regarding securities, i.e., the individualized analysis of the
   customer’s individualized circumstances.
   The reasonable basis standard for suitability, as outlined in FINRA Rule 2111, does not include
   an objective measurement as a primary or even secondary determinant of a suitable
   recommendation. The rule clearly states that “a member or associated person must have a
   reasonable basis”3 for making a recommendation. This is based on the financial advisor’s
   knowledge of the client’s investment profile, financial situation, objectives, risk tolerance, time
   horizon and other subjective components, not an arbitrary metric analysis.
   4)      In paragraph 20(d) of his report, Mr. Schulz states:
           Contrary to industry regulations and industry standards and its own policies, RJA
           failed to conduct or document proper account-type suitability analyses for its
           clients, such as Ms. Nguyen, prior to transferring clients’ assets from commission-
           based accounts to fee-based Freedom Accounts. This failure is borne out by an
           analysis of the data that RJA produced to date, which shows that the relevant
           commission-based accounts had an average annual cost turnover well below the
           0.5% threshold (a mere 0.04%) and an average annual turnover well below the
           0.25 threshold (a mere 0.017 turnover).
   Mr. Schulz is reaching a conclusion similar to that which is expressed in paragraph 20(a) of his
   report, and which is similarly flawed. This conclusion is contradicted by the testimony of Ms.
   Nguyen’s financial advisor, Dax Seale, regarding the analysis he performed in conjunction with
   Ms. Nguyen before recommending that she open her second Freedom Account. During the
   2015-2018 timeframe, industry regulations, standards, custom, and practice required a financial
   advisor to make suitability determination before making a recommendation for a purchase of a
   security or undertaking an investment strategy and did not specifically require an “account type”
   analysis. Similarly, industry regulations, standards, custom, and practice did not require
   documentation of the reasons supporting the recommendation. Nonetheless, documentation is
   present concerning the recommendation to Ms. Nguyen.
   There are no FINRA Rules that require any type of specific metric analysis be conducted in order
   to recommend that a client liquidate assets in a commission-based account to open a fee-based
   managed account. Mr. Schulz fails to point to any specific citation or language in any rule,
   notice to members, or other regulatory directive, requiring such analysis, or providing anything
   other than an opinion about the analysis quoted above.
   Additionally, the statement that Raymond James failed to conduct reviews for its clients beyond
   Ms. Nguyen is not supported by any individual analysis or collection of records for any of the
   clients in the potential class at issue. These records, including portfolio recommendation plans,
   new account records, investment policy questionnaires,4 recorded contact management notes,


   3
    FINRA Rule 2111.
   4
    Deposition of Chris Thurston (May 21, 2021) (“Thurston Depo.”), Ex. 83 (Investment Policy Questionnaire)
   (RJA_(NGUYEN)_028825).

                                                          5
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 75 of 97 PageID 5650
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   and various forms of correspondence with each unique customer and financial advisor that would
   need to be analyzed to understand the specific activities that occurred related to each client or
   account. In order to determine that an investment or account type was unsuitable, a finder of fact
   would need to review a significant amount of individual-specific information. Accordingly, this
   suitability analysis does not lend itself to a class consideration.
   5)     In paragraph 20(e) of his report, Mr. Schulz states:
          Contrary to industry regulations and industry standards, RJA failed to conduct and
          document proper suitability reviews and monitoring of fee-based Freedom
          Accounts to ensure that the account type remained suitable for its clients, such as
          Ms. Nguyen, after it had transferred them to fee-based Freedom Accounts. It
          appears that RJA never conducted any ongoing suitability reviews of these
          accounts because, for example, RJA again claims that it had no duty under the
          regulations and industry standards to conduct reviews as it relates to the type of
          account. See RJA’s interrogatory number 11 response. RJA is wrong because
          FINRA regulations address a brokerage firm’s responsibility as to account type.
          In addition, to the extent there was increased trading activity, the benefits that the
          clients received from this “increased” trading activity was not commensurate with
          the fees, and so it was still unsuitable.
   As he did in prior points, Mr. Schulz infers that FINRA regulations require a suitability analysis
   of “account type” and does not cite specific language in any rule or notice to members to support
   this conclusion. In the instance of Ms. Nguyen, Mr. Seale performed a suitability analysis based
   on his extensive knowledge of his client. A few weeks before making the recommendation to
   invest in the Freedom Account at issue, Mr. Seale completed a financial plan for the client which
   documented Ms. Nguyen’s background and suitability information. In addition, her specific
   suitability information is documented in the account records maintained by Raymond James in
   the form of the information collected to open a new account. Ms. Nguyen was sent verification
   letters for each account she opened to provide her an opportunity to review and make any needed
   corrections to the account suitability components.
   Mr. Seale was actively engaged in regular, ongoing discussions with Ms. Nguyen about her
   finances and her holdings. He updated, and presented to her, financial plans in 2015, 2017, and
   2018.5 He created a portfolio review for her, as well, in March 2016, just two months after she
   opened the Freedom Account that is the subject of this action.6 He also created portfolio reviews
   for her at or near the times of the 2017 and 2018 financial plans.7 Both the financial planning
   and the portfolio reviews, as well as the other emails and phone calls that they exchanged
   between those events, allowed him to review her suitability information at that time.
   Furthermore, Raymond James, through its AMS division, continually monitored her, and other,
   Freedom Accounts for drift from the model portfolio, and conducted regular work evaluating the


   5
     RJA_(NGUYEN)_010943, 010879, 010833.
   6
     RJA_(NGUYEN)_041828.
   7
     RJA_(NGUYEN)_012672, 023609.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 76 of 97 PageID 5651
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   performance of the funds and fund managers, conducted annual rebalancing, and other routine
   work as part of its management of the Freedom program.
   Mr. Schulz’s argument that “the benefits that the clients received from this ‘increased’ trading
   activity was not commensurate with the fees” fails to quantify the benefits that the clients
   received by being enrolled in the Freedom program. I do not understand how Mr. Schulz can
   conclude that an investment strategy that involves extensive fund manager due diligence and
   regular rebalancing to allow for continued diversification with only occasional amounts of
   trading by professional investment managers is inappropriate (to name only two of the benefits).
   6)         In paragraph 20(f) of his report, Mr. Schulz states:
              Contrary to industry regulations and industry standards and its own policies, RJA
              failed to enforce its policies and procedures to conduct and document proper
              suitability analysis or suitability reviews.
   This conclusion is not supported by the evidence that has been made available in this case. Mr.
   Schulz overlooks the account documentation maintained and produced by Raymond James
   pursuant to this matter. The suitability information was collected at the time the account opened,
   documented in the books and records of the firm, and relied upon by the financial advisor in
   making a reasonable recommendation. This suitability information is collected upon opening all
   accounts and approved by a licensed, supervising principal at Raymond James and is in line with
   industry standards, custom, and practice during the 2015-2018 timeframe. In addition, in the
   case of Ms. Nguyen, Mr. Seale created and presented a “Financial Plan” unique to her specific
   situation, just a few weeks before recommending that she open a second Freedom Account. Mr.
   Schulz also ignores the deposition testimony from Mr. Seale and Ms. Nguyen regarding
   conversations that they had where they discussed various components of her suitability
   characteristics. The suitability recommendations and process Mr. Seale undertook to acquire the
   information and make an informed recommendation was in line with all Raymond James policies
   related to suitability.
   Raymond James had in place appropriate policies concerning suitability as discussed below and
   in my Expert Report. As the testimony of Mr. Thurston indicates, there were proper procedures
   in place to enforce the suitability policies and procedures.8
   7)         In paragraph 20(g) of his report, Mr. Schulz states:
              Contrary to industry regulations and industry standards, RJA failed to enforce its
              policies and procedures to document proper suitability analysis or suitability
              reviews for Freedom Accounts.
   Just as he did in paragraph 20(f), Mr. Schulz has here failed to support his contention that
   Raymond James has failed to enforce its policies and procedures. Again, I saw no evidence that
   would lead me to conclude that Raymond James did not enforce its policies and procedures.


   8
       See, e.g., Thurston Depo. p. 51:1-79:22.

                                                       7
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 77 of 97 PageID 5652
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   As noted above in my response to paragraph 20(f) of Mr. Schulz's report, the suitability
   information was collected and reviewed and would be for any client opening an account. In
   addition, in order to open a Freedom Account, an additional set of questions revolving around
   client suitability is documented in the Freedom Account application form, which was also
   approved by a licensed, supervising principal. After opening a Freedom Account, the account
   documentation was also reviewed by the Asset Management Services group to assure that the
   model portfolio was aligned with the client’s stated objective. Raymond James financial
   advisors rely on the information they have collected regarding client investment characteristics to
   make an informed suitability recommendation, including a recommendation to invest in a
   Freedom Portfolio, which is in line with Raymond James policies and procedures governing
   suitability.
   As noted above, Raymond James had appropriate policies and procedures in place regarding
   suitability. In addition, AMS reviewed and determined that Ms. Nguyen’s Freedom Account
   strategy aligned with her investment objectives, which is evidence that these policies worked. I
   found no materials presented in this case supporting Mr. Schulz’s contention that Raymond
   James did not enforce its policies and procedures.
   8)         In paragraph 20(h) of his report, Mr. Schulz states:
              RJA’s failure to conduct proper suitability analyses, properly document any
              suitability analyses, and follow industry regulations and industry standards and its
              own written policies regarding how to conduct and document suitability analyses
              was the result of a systemic failure at Raymond James—as reflected by the
              testimony of Christopher Thurston, RJA’s Federal Rule of Civil Procedure
              30(b)(6) designee and Chief Compliance Officer for AMS, who “head[s] up a
              group of compliance associates that support investment advisory and products,
              packaged products, complex products . . . .”1 and, additionally, by RJA’s sales
              practices and policies that provide encouragement and incentives to its registered
              Financial Advisors to switch customers in commission accounts to fee-based
              Freedom Accounts.
   Mr. Schulz seems to ignore the facts available to him, and none support that there was a
   “systemic failure.” Mr. Schulz does not cite or refer to any specific industry standard or rule
   requiring the documentation of the suitability analysis in the 2015-2018 time period. He
   mischaracterizes and at times questions the credibility of testimony provided by Mr. Thurston,
   without identifying a basis to do so. He fails to cite one substantive financial incentive to
   support the assertion that Mr. Seale or any other Raymond James financial advisors were
   influenced to recommend Freedom Accounts to customers without conducting a suitability
   analysis, as he asserts. There were no contests or incentives for opening a certain number of
   Freedom Accounts.9




   9
       Thurston Depo. p. 179:9-16.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 78 of 97 PageID 5653
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   9)       In paragraph 20(i) of his report, Mr. Schulz states:
            Contrary to regulations and industry standards, RJA charged excessive fees for
            the “additional” Freedom services provided by financial advisors unrelated to
            management of the investments in the Freedom Account.
   Mr. Schulz’s opinion is flawed in that the fees and fee structure in place at Raymond James for
   the Freedom Account program were in line with industry standards, custom, and practice for
   professionally managed, fee-based accounts. Mr. Schulz does not offer or cite any comparison
   or analysis of fees within the industry to substantiate this claim, whether it relates to (i) the fees
   posted on the fee schedule,10 (ii) the actual fees that were charged after discounting,11 (iii) the
   value of the services that AMS provided, or (iv) the value of any optional / additional services
   that any individual financial advisors provided and for which those advisors were compensated
   through Freedom Account fees.
   10)      In paragraph 20(j) of his report, Mr. Schulz states:
            Members of the putative class are capable of being identified by an objective
            analysis of RJA’s data via application of a common formula. The Class is defined
            to include only those customers who were in an RJA commission-based account
            and were moved to an unsuitable much higher fee-based Freedom Account. An
            analysis of RJA data by applying the two objective metrics (i.e., annual cost
            analysis and annual turnover analysis) permits me, with the assistance of
            Plaintiff’s data expert, Mr. Arthur Olsen, to determine which commission-based
            accounts were unsuitable for fee-based Freedom Accounts because they fell
            below the two objective metrics above. The steps to identify the class members
            are objective and automated using the spreadsheets that RJA has produced to date
            and will produce in the future as discovery proceeds. I instructed Plaintiff’s data
            expert to execute data queries to identify the class members.
   Mr. Schulz’s methodology is flawed. The key issue based on the pleadings, is whether
   there was a suitability analysis conducted for Ms. Nguyen and all other putative class
   members.12 As an initial matter, Mr. Schulz’s methodology cannot determine for any
   Freedom Account whether it was opened because of a financial advisor’s
   recommendation. If it was not, then the suitability rule would not even come into play.
   Further, as I discuss above, Mr. Schulz’s position is not aligned with the language of the
   FINRA suitability rule, 2111. The rule is subjective and requires that the financial
   advisor understand the client’s investment profile, which cannot be accomplished by
   performing a metrics analysis based only upon annualized cost of commissions and
   turnover. Moreover, each client has unique, individual objectives, risk tolerance, time
   horizon, liquidity needs, and other information which they share with their financial

   10
      RJA Form ADV, Part 2A, RJA_(NGUYEN)_008488.
   11
      RJA_(NGUYEN)_059060-059063.
   12
      It has been established that a suitability review did occur for Ms. Nguyen, and I have opined that the Freedom
   Account was one of many suitable options for her.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 79 of 97 PageID 5654
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   advisor. That information is not static over time, but rather, regularly changes. The
   financial advisor is obligated to use that information, as well as her or his professional
   judgment, to make a suitable recommendation for a transaction or investment strategy at
   the point in time when the recommendation is made.13
   There is an obvious reason that Mr. Schulz’s supposed “objective” test is flawed:
   suitability determinations are necessarily made on an individual, case-by-case basis, and
   are not based on a formulaic measurement restricted to two values that do not take into
   consideration the spelled-out criteria for making suitability determinations that are set
   forth in FINRA Rule 2111. Mr. Schulz knows nothing related to the investment
   objectives, risk tolerances, tax situations, time horizons, liquidity needs, net worth, etc.,
   of the members of this purported class.
   Additionally, Mr. Schulz does not provide a method to identify which clients were
   “moved to” a Freedom Account from a commission-based account. This raises the
   following questions:
        •   Does this include only those persons who sold all their assets in the commission-
            based account to fund the Freedom Account?
        •   Does it include only those persons who sold more than half of their assets in the
            commission-based account to fund the Freedom Account?
        •   Is there a minimum holding period for which a commission account must be
            opened before it would be considered as having had assets “moved”?
        •   What about a client who opened a commission account and then opened a
            Freedom Account only a few days later, and funded the Freedom Account with a
            portion of the assets from the commission-based account?
   That is, Mr. Schulz does not suggest a minimum period of time for which the funding
   account had to have been open, nor does he suggest what percentage of assets liquidated
   from the commission-based account constitutes a client supposedly being “moved to” a
   Freedom Account. This may be because he is bound by the facts of Ms. Nguyen, who
   only had her commission-based account open for six months and who did not liquidate
   her entire account to fund the Freedom Account.
   If Mr. Schulz assumes that the use of any assets (regardless of their holding period,
   amount, or percentage of the whole) from a commission-based account to fund a
   Freedom Account would constitute being “moved to” a Freedom Account, additional
   errors are apparent. Mr. Schulz’s two-factor test (applied to this broad putative class)
   considers all assets in the commission-based accounts and is not limited to just those
   assets that were liquidated or used to open the Freedom Account. What if the
   commission account was a pass-through for cash that was then used to fund the Freedom

   13
     FINRA Rule 2111: “(a) A member or an associated person must have a reasonable basis to believe that a
   recommended transaction or investment strategy involving a security or securities is suitable for the customer, based
   on the information obtained through the reasonable diligence of the member or associated person to ascertain the
   customer's investment profile…”

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 80 of 97 PageID 5655
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   Account? In such a circumstance, the trading in the commission account of securities
   that were not liquidated to fund the Freedom Account would be of lesser importance, but
   Mr. Schulz’s two-factor test does not take this into account.
   In summary, Mr. Schulz’s approach does not define, or even recognize, his first step of
   what it means to be “moved to” a Freedom Account. This oversight on his part, when
   examined, shows additional problems of using his simplistic, two-factor test to determine
   the suitability of recommendations made to a class of potentially tens-of-thousands of
   people, each with their own unique circumstances and investment story.
   11)    In paragraph 20(k) of his Report, Mr. Schulz states:
          Similarly, class members’ damages can be calculated based on objective analysis
          of RJA’s data using a common formula. The damages alleged here are excessive
          fees incurred in the fee-based accounts. Those excessive asset-based fees would
          not have been incurred but for the transfer to unsuitable accounts. Therefore, the
          measure of damages for each class member is: the difference between the fees
          paid in the fee-based account minus the projected commissions that would have
          been charged in the fee-based account. All of this can be done through an
          electronic query of RJA’s records, which I have instructed Mr. Olsen to do.
          Damages would also include any resulting loss of investment gains on the account
          due to the reduction of assets in the account due to the difference between the fees
          paid in the fee-based account minus the projected commissions that would have
          been charged in the fee-based account. This also can be done through an
          electronic query of RJA’s records and/or application of an appropriate return
          metric (e.g., applying the same rate of returns as earned in class-members’
          Freedom Accounts or earned in the relevant RJA Model Portfolio investment
          strategies used for its Freedom Accounts; or an appropriate index such as the S&P
          500) all applied on a formulaic basis during the applicable time period.
   Mr. Schulz’s broad, sweeping assertion that damages calculations can be made on a class-wide
   basis is sheer speculation based on fundamentally flawed assumptions that include the following:
   (i) Every Freedom Account was opened because hundreds or thousands of individual financial
   advisors made recommendations to tens of thousands of individual clients that were each not
   supported by a reasonable basis, (ii) Each of these tens-of-thousands of Freedom Accounts paid
   “excessive fees,” even though the fees charged were the contractual fees that the clients agreed to
   pay, (iii) “Excessive fees” can be calculated based on “projected commissions that would have
   been charged in the fee-based account” – even though no client agreed to pay commissions in
   any Freedom Account, and (iv) damages “would also include any resulting loss of investment
   gains on the account due to the reduction of assets in the account due to the difference between
   the fees paid in the fee-based account minus the projected commissions that would have been




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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 81 of 97 PageID 5656
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   charged in the fee-based account” - even though account performance is not at issue in this
   case.14
   Moreover, Mr. Schulz’s class-wide damages theory is not based on a “common formula” that has
   any acceptance under industry rules, standards, custom, or practice. It is unique and without
   precedent. It completely eliminates even the possibility of assigning value to the additional
   services provided by Raymond James through its AMS division, to clients within the Freedom
   program, all of which are completely discounted by Mr. Schulz. It also eliminates the possibility
   of assigning value to any of the additional services, such as financial planning, that any of the
   financial advisors for the tens of thousands of alleged class members may or may not have
   provided as part of the client opening a Freedom Account, which Mr. Schulz also completely
   discounts.

   Specific Concerns

   Below, I expand on my general critique of Mr. Schulz’s Report provided above to address
   certain specific misstatements or errors within Mr. Schulz’s Report. For the convenience of the
   readers of this report, I have arranged my responses below in headings copied from Mr. Schulz’s
   Report and included the range of paragraphs that are within each section. Note that the limited
   amount of time available for the preparation of this response necessitated omitting some of the
   concerns I had with Mr. Schulz’s Report. Accordingly, this should not be presumed to be an
   exhaustive list of every point of Mr. Schulz’s Report with which I disagree.
           Mr. Schulz’s Report: III.B. NASD and FINRA Rules and Regulatory Notices reflect
           minimum industry standards regarding proper suitability analysis [Paragraphs 31-43]
   I agree with Mr. Schulz that FINRA Rule 2111 was the suitability rule in place during the 2015-
   2018 timeframe. The rule requires, generally, that FINRA member broker-dealers and
   associated persons have a reasonable basis to believe that a recommendation is suitable for a
   customer. The rule does not require that the financial advisor conduct “due diligence” on a
   specific investment, but rather use information obtained through the “reasonable diligence of the
   member or associated person to ascertain the customer’s investment profile.”15 The customer-
   specific obligation requires that a member or associated person have a reasonable basis to
   believe that a recommendation of a security or investment strategy involving a security or
   securities is suitable for a particular customer based on that customer’s investment profile. There
   is no language in FINRA Rule 2111 that refers specifically to account type suitability as written
   in Mr. Schulz’s Report.
   Mr. Schulz is incorrect in citing multiple FINRA Rules regarding the determination of initial and
   ongoing suitability analysis. The suitability rule is clearly defined as FINRA Rule 2111, and is
   supported by FINRA Rule 2090, which is commonly referred to as “Know Your Customer.”
   These are the rules that are accepted and followed as part of industry standards, custom, and

   14
      Plaintiff’s Amended Response to Defendant’s Requests for Admission, 01/04/2021, Request for Admission no. 8,
   p. 8.
   15
      FINRA Rule 2111.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 82 of 97 PageID 5657
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   practice. FINRA Rules 2010, 2122, and 3110 outline industry requirements related to
   “Standards of Commercial Honor,”16 “Charges for Services Performed,”17 and the requirement to
   establish a reasonable “Supervision”18 system. None of these 3 rules specifically create a
   suitability obligation.
   I agree with Mr. Schulz that FINRA Rule 2010 requires a broker to act in accordance with “just
   and equitable principles of trade.” Mr. Schulz mischaracterizes the intent of the rule. FINRA
   Rule 2010, cited by Mr. Schulz, does not contain any language that establishes a “best interest”
   requirement as he asserts. FINRA Rule 2010, which he relies upon in making this allegation,
   states, in its entirety: “A member, in the conduct of its business, shall observe high standards of
   commercial honor and just and equitable principles of trade.”19
   I would agree that FINRA Rule 2122 focuses on charges and fees for services and that they be
   reasonable. FINRA Rule 2122 states, in its entirety:
          Charges, if any, for services performed, including, but not limited to,
          miscellaneous services such as collection of monies due for principal, dividends,
          or interest; exchange or transfer of securities; appraisals, safe-keeping or custody
          of securities, and other services shall be reasonable and not unfairly
          discriminatory among customers.20
   Mr. Schulz’s interpretation mischaracterizes the rule. The rule as it was in effect during the
   2015-2018 timeframe does not contain any language that the fees “must be in the client’s best
   interest.” As it appears Mr. Schulz is being literal, in the sense that he is arguing that a fee is
   never in a client’s best interest. But he ignores the services received in exchange for the fee and
   the fact that the standard is reasonableness.
   Mr. Schulz is incorrect when he asserts that FINRA rules address the issue of “account type” as
   it relates to suitability. He does not cite a specific rule or “standards” to support this position.
   He mischaracterizes adding margin capabilities to a new or existing cash account as representing
   a different account. Adding margin to a standard cash account allows for methods of borrowing
   to purchase securities in an account.21 The standard in the industry when referring to “account
   type” relates to the account registration, not the features of an account.
          Mr. Schulz’s Report: III.C. At minimum, a proper account suitability analysis requires an
          analysis of two objective metrics to discern low trading activity/buy-and-hold accounts
          for which a fee-based Freedom Account is not suitable. [Paragraphs 44-62]




   16
      FINRA Rule 2010.
   17
      FINRA Rule 2122.
   18
      FINRA Rule 3110.
   19
      FINRA Rule 2010.
   20
      FINRA Rule 2122.
   21
      RJA_(NGUYEN)_003846 (Raymond James New Account paperwork).

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 83 of 97 PageID 5658
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   Mr. Schulz’s theory that the use of two specific metrics related to trading activity is the primary,
   or only, determination of suitability is significantly flawed and does not follow the guidance of
   the FINRA suitability rule, Rule 2111.
   There is no language in FINRA Rule 2111 or any other related rule that references any type of
   arbitrary mathematical formula to determine suitability. You cannot apply metrics to determine
   suitability. Suitability is determined on an individual, client-by-client basis and requires
   that the financial advisor have a reasonable basis for a recommendation based on that
   customer’s investment profile.22 The theory Mr. Schulz relies on ignores the concept of
   knowing your client and making a reasonable recommendation based on understanding their
   unique financial situation and needs, objectives, risk tolerance, time horizon, liquidity, net worth,
   and other information that they may have disclosed to the financial advisor. Given the myriad
   factors that go into a recommendation to a client for investments that are suitable, a simple, two-
   metric system is insufficient as a substitute for a suitability analysis. Additionally, Mr. Schulz’s
   two-metric approach only focuses on a single account – the supposed funding account for the
   Freedom Account – and attempts to derive exclusionary behavioral data from it. It ignores other
   potentially relevant materials that are part of the investment profile, including other investments
   outside of that account, net worth, other investment experience, and other factors. Rule 2111
   does not require a financial advisor to put on blinders and view just the account that is the source
   of the investment under consideration.
   The financial advisor’s knowledge of his or her client and their professional training are the
   primary components in determining suitability. Relying on metrics alone or as a primary
   determinant does not incorporate the client-specific information known to the financial advisor in
   making a suitability determination. The suitability determination outlined in FINRA Rule 2111
   is individual in nature and cannot rely on a mathematical algorithm. To evaluate whether a
   suitability review was done across this putative class would require an account-by-account and,
   truly, a client-by-client review.
   Mr. Schulz’s analysis, as applied to this plaintiff, is wrong and ignores the evidence that Mr.
   Seale did conduct a thorough suitability analysis for Ms. Nguyen when recommending that she
   open her second Freedom Account. Mr. Seale and Ms. Nguyen both provided testimony in their
   depositions regarding suitability discussions that did indeed took place.23 Mr. Seale created and
   presented an in-depth financial plan,24 which details Ms. Nguyen’s specific suitability criteria.
   Mr. Seale had a long-term history and knowledge of his client (she had been with him when he
   was an advisor at Edward Jones) and acquired an understanding of her investment profile while
   she was his client. He relied on her client-specific information and his professional training to
   make a suitable recommendation. She had two prior fee-based managed accounts - one at
   Edward Jones and a prior Freedom Account - and she has complained about neither of them in
   this litigation. Mr. Schulz’s theory cannot explain how the recommendation to open the earlier

   22
      FINRA Rule 2111.
   23
      Seale Depo. p. 202:13-205:3; 208:9-22; 214:2-216:23; 233:3-20; Deposition of Kimberly Nguyen (January 12,
   2021) (“Nguyen Depo.”), p. 121:18-24; 130:17-25.
   24
      RJA_(NGUYEN)_010943.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 84 of 97 PageID 5659
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   Freedom Account was supported by a reasonable basis while the recommendation to open the
   second Freedom Account was not.
   Mr. Schulz has no basis to determine that Raymond James did not conduct a suitability analysis
   for any other Raymond James clients, without having himself reviewed the files and records for
   each and every class member and their financial advisors. There is no evidence that Mr. Schulz
   reviewed any new account information, client contact management notes, client specific
   documents (such as financial plans and portfolio reviews created for clients) or interviewed any
   clients or financial advisors in coming to his conclusion. Each client and financial advisor
   relationship is unique and different and may include significantly different types of
   communication.
   Mr. Schulz is again incorrect in asserting that FINRA rules address the issue of account type
   suitability and fails to cite any specific language to support this argument. He also
   mischaracterizes an NASD settlement from 2005 that is unrelated to the claims being presented
   in this matter.25 The 2005 settlement relied upon by Mr. Schulz was limited to financial advisor
   directed fee-based accounts, not accounts like Freedom, which are managed by AMS and cannot,
   by definition, be inactive. Accordingly, the prior litigation is completely unrelated to the present
   issue.
              Mr. Schulz’s Report: III.D. Contrary to industry regulations and industry standards, prior
              to transferring clients’ assets from commission-based accounts to fee-based Freedom
              Accounts, RJA failed to conduct proper account suitability analyses for its clients,
              including Ms. Nguyen. [Paragraphs 63-70]
   As this portion of Mr. Schulz’s Report contains arguments whose responses are largely identical
   to those of the following section, I have put my responses therein.
              Mr. Schulz’s Report: III.E. Contrary to industry regulations and industry standards, RJA
              failed to conduct proper suitability reviews and monitoring of fee-based Freedom
              Accounts to ensure that the account type remained suitable for its clients, including Ms.
              Nguyen, after it had transferred them to fee-based Freedom Accounts. [Paragraphs 71-76]
   Mr. Schulz’s opinion as to what is a “proper” review is not helpful to a finder of fact when
   Plaintiff has alleged not that the suitability review for her account was improper, but that there
   was no suitability review performed at all.26 If the allegation is, in fact, that reviews were
   performed, but they were not “proper,” then there is certainly no way to evaluate whether
   thousands of reviews were “proper,” without investigating each and every recommendation and
   the basis to support it.
   Mr. Schulz’s opinion on whether Raymond James failed to follow industry regulations and
   standards is flawed. Mr. Schulz does not cite any industry regulation or standard to support this
   theory that ongoing suitability reviews are required for fee based, managed account. He relies on
   an unrelated case against another firm by the Securities and Exchange Commission that is not

   25
        Schulz Report p. 10-11.
   26
        Second Amended Class Action Complaint, para. 1, 8.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 85 of 97 PageID 5660
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   relevant to this case. The case cited does not relate to Raymond James and it is specific to
   inactive fee-based accounts. The Freedom Account portfolios, by design, are not “inactive.”
   Mr. Schulz’s opinion that ongoing suitability discussions did not occur is not accurate. There
   were documented, ongoing discussions between Mr. Seale and Ms. Nguyen throughout the time
   her Freedom Account was open. Mr. Seale reviewed the individual client suitability and created
   and presented an updated Financial Plan document to Ms. Nguyen in 2015, 2017, and 2018 to
   review her current portfolio and objectives.
   Mr. Schulz seems to ignore the testimony from Mr. Thurston’s deposition that at the account
   level, the firm relies on the ongoing client and financial advisor experience for primary ongoing
   suitability discussions.27 The financial advisor who has the relationship with the end client
   would then be responsible for updating the suitability information if the individual client’s
   financial circumstances have changed and relaying it to the AMS division.
   Mr. Thurston also testified that the operations team as part of the AMS division would then
   implement those updates and changes and reallocation on an ongoing basis to be certain the
   individual account remained within the parameters relative to the designated objectives.
             Mr. Schulz’s Report: III.F. RJA’s policies recognized that a trading-activity analysis was
             required before transfer to the fee-based Freedom Accounts, but contrary to industry
             regulations and industry standards, RJA failed to enforce its policies and procedures.
             [Paragraphs 77-104]
   There is no factual basis for Mr. Schulz’s conclusion that Raymond James had policies in place
   to require a trading-activity analysis before investing in a Freedom Account. The policy that he
   cites lists several factors that an Investment Advisor Representative (“IAR”) should consider in
   determining that an investment advisory account is appropriate. As Mr. Thurston testified, the
   focus of this policy was on financial advisor directed fee-based accounts. From my review of the
   policy, “Investment Advisory Accounts,”28 it is readily apparent that the policy is oriented
   towards monitoring trading inactivity in financial advisor directed advisory accounts. Mr.
   Schulz reads Mr. Thurston’s testimony in an overly rigid way, and such a reading does not, in
   any event, support Mr. Schulz’s absolute conclusions. While parts of this policy, read broadly,
   would apply to Freedom Accounts, this policy is targeted to financial advisor/IARs where they
   are directing the investments in a client’s fee-based advisory account.
   Raymond James had policies and procedures in place to comply with FINRA Rule 3110
   requirements related to Supervision and the determination of suitability, which is the key issue in
   this matter. The key policy is labeled “Suitability” which is based on FINRA Rule 2111. As
   stated above the FINRA suitability rule did not require a quantitative trading analysis before
   investing in a managed account portfolio.




   27
        Thurston Depo. p. 52:7-55:2; 127:17-128:14.
   28
        Thurston Depo., Ex. 69 (RJA_(NGUYEN)_019544).

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 86 of 97 PageID 5661
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   Another applicable policy is the Investment Management Account Initial Objective Review. Mr.
   Schulz says that this policy is inapplicable.29 The policy reads, in part:
           As a fiduciary on investment management accounts, Raymond James is obligated to make
           a determination that the investment advice it gives to clients is suitable, taking into
           consideration the client's financial situation, investment experience and investment
           objectives. As such, AMS-sponsored Managed accounts are subject to suitability
           requirements. The primary responsibility for ensuring that investment management
           account products selected by the client are suitable for a client's financial situation lies
           with the client's financial advisor. This initial determination is also reviewed and
           approved by a supervisory principal for the financial advisor(s) of record. For newly
           established and existing AMS-sponsored program investment management accounts,
           AMS Compliance reviews the clients' investment objectives compared to the client's
           elected investment strategy and/or manager's discipline to assess whether the client-
           selected investment strategy or discipline is appropriate. Wealth preservation and
           Speculation investment objectives are not appropriate for AMS-sponsored account
           programs.

           The primary responsibility for ensuring that investment management account
           products selected by the client are suitable for his or her financial situation lies
           with the client’s advisor. This initial determination is also reviewed and
           approved by a registered principal at the branch office.30
   It follows, then, that to the extent this “Investment Advisory Account” policy did apply to a
   financial advisor’s recommendation that a client liquidate assets in a commission-based account
   to open a Freedom Account (according to Mr. Schulz), there is nothing wrong with it. Raymond
   James had procedures in place based on the Investment Advisers Act of 1940 and related rules,
   and this policy is an example of that. These procedures included that IARs “should periodically
   review advisory accounts to determine whether the account remains appropriate for a client,”31
   and that “Financial Advisors must be appropriately registered as [IARs] prior to engaging clients
   through investment advisory agreements.”32
   From my review of the materials in this matter, including the deposition testimony of Mr.
   Thurston, there were several ways that Raymond James enforced these policies, including:
           Branch Manager review.
           AMS Division review of the portfolio selection relative to objectives.
           Risk based analysis of various accounts and exceptions.



   29
      See Schulz Report, para. 84.
   30
      AMS Policies and Supervisory Procedures, “Investment Management Account Initial Investment Objective
   Review,” RJA_(NGUYEN)_010782-010783; see also, 010774-010775, 015121-015126.
   31
      RJA_(NGUYEN)_019544-019545 (Investment Advisory Accounts).
   32
      RJA_(NGUYEN)_019421-019422 (Advisory Accounts).

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 87 of 97 PageID 5662
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

           Branch office examinations, including discussions with financial advisors.33
           Verification letters sent directly to the clients.
   For Ms. Nguyen’s account in question, AMS confirmed that the Freedom strategy aligned with
   Ms. Nguyen’s investment goals,34 and there has been no evidence that such a review was not
   done for each account that invested in the Freedom Portfolio. Indeed, determining whether
   suitability reviews were performed when recommendations were made would require an
   account-by-account review of tens-of-thousands of accounts.
   Mr. Schulz’s theory regarding a lack of suitability documentation is incorrect. The suitability
   information was collected as part of the new account information and is retained in the books and
   records of Raymond James, in accordance with FINRA recordkeeping requirements. In the case
   of Ms. Nguyen, these records were produced and are available for Mr. Schulz to review.
   Freedom Account agreements were maintained and produced which also list the objectives and
   suitability components obtained directly by the financial advisor in line with industry rules,
   customs, and standards. In the case of Ms. Nguyen, there were contact management notes,
   detailed Financial Plan analysis reviews, and memorialized communications between the
   financial advisor and the client. In addition, Mr. Seale testified in his deposition regarding the
   collection of suitability information and his basis for making the determination for Ms.
   Nguyen.35
   FINRA Rule 2111 does not list any specific documentation requirements and Mr. Schulz does
   not cite any other regulatory rule that required such documentation during the 2015-2018
   timeframe. There was no industry standard, custom, or practice to maintain a specific,
   documented analysis during the 2015-2018 timeframe as Mr. Schulz asserts.
   Compliance with the suitability obligation does not depend on whether the determination was
   documented, but on whether a reasonable determination was made by the financial advisor,
   which was done for Ms. Nguyen. To determine this for the entire class, would require (i) a
   review of the specific account documentation records for each potential class member, and (ii)
   speaking to the client and financial advisor to determine (a) whether a recommendation was even
   made, which is a threshold requirement for the application of the suitability rule, and (b) the
   reasonableness of the recommendation of the specific financial circumstances applicable to each
   purported class member.
   I note that Mr. Schulz quoted and emphasized in paragraph 91 of his report, that “the client’s
   past and anticipated levels of trading activity” must be “documented” and “considered” in
   making a suitability review. I cannot fathom how an evaluation of whether these two things –
   the documentation and the consideration - could be performed on anything other than a case-by-
   case basis, effectively disallowing a class-based analysis of the issues alleged in this case.



   33
      Thurston Depo. p. 202:13-205:3; 208:9-22; 214:2-216:23; 233:3-20.
   34
      RJA_Nguyen_059112-059113.
   35
      Seale Depo. p. 139, 151, 230, 233.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 88 of 97 PageID 5663
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

              Mr. Schulz’s Report: III.G. RJA incentivizes its financial advisors to transfer clients from
              commission-based accounts to fee-based Freedom Accounts without regard to suitability.
              [Paragraphs 105-115]
   Mr. Schulz’s conclusion that Raymond James incentivized its financial advisors to transfer
   clients without regard to suitability misstates the facts.
   As spelled out above, Raymond James had policies and procedures in place to require a
   suitability analysis prior to making a recommendation to a client. There are new account
   documents, Financial Plans, contact management notes, and sworn testimony from both Mr.
   Seale and Ms. Nguyen regarding suitability discussions that took place before she made the
   decision to invest in the Freedom Account portfolio. There is no evidence that the same type of
   suitability review did not take place for the other clients that might constitute the purported class.
   Mr. Schulz does not cite any specific financial incentive for the individual financial advisor that
   would renumerate them at a higher level based on their clients investing in a Freedom Account
   portfolio versus investing in other types of securities or holding an advisory account managed by
   the financial advisor. The testimony in this case established that there was no additional
   compensation for a financial advisor who generated revenue from a Freedom Account compared
   to one who generated the same amount of revenue from a commission-based brokerage account.
   Furthermore, there was no testimony presented that Raymond James provided any incentive to
   any of its financial advisors to recommend a Freedom Account to their clients without
   conducting a suitability review. Mr. Seale actually testified that the flexibility offered by
   Raymond James to its advisors to recommend to their clients the investment products that they
   felt best met the client’s needs was one aspect of Raymond James that caused him to join the
   firm.
   Mr. Schulz cites internal advisor guides and testimonials as having influence over a financial
   advisor. In the case of the Plaintiff, Mr. Seale testified in his deposition that he did not recall
   seeing or reviewing any of the testimonial or internal “marketing” pieces36 and accordingly, they
   had no influence on making an individualized suitability determination for Ms. Nguyen.
   Mr. Thurston stated that the marketing materials that he was shown were the specific experiences
   of those individuals and did not represent Raymond James’s policies.37 From my review of the
   materials cited by Mr. Schulz in this section, it is evident that Raymond James did not instruct, or
   encourage, its financial advisors to recommend that their clients open a Freedom Account (using
   assets in a commission-based account or otherwise) without a suitability review.
   Mr. Schulz also attempts to draw attention to a NASD finding from 2005 regarding sales
   literature that was sent to clients. This finding was a full 10 years prior to when Ms. Nguyen
   opened her account(s) at Raymond James and is irrelevant to the Freedom Account portfolio at
   issue.



   36
        Seale Depo. p. 226:22-228:19.
   37
        Thurston Depo. p. 207:15-208:15.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 89 of 97 PageID 5664
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   CONFIDENTIALITY AGREEMENT

              Mr. Schulz’s Report: III.H. The Freedom Account’s other “services” and “benefits” do
              not make the account suitable. [Paragraphs 116-142]
   I do not agree with Mr. Schulz’s opinion regarding the other “services” and “benefits.”
   Mr. Schulz’s conclusion that objective metrics are the only determining factor for suitability does
   not meet the FINRA Rule 2111 suitability definition or requirement. Reasonable basis suitability
   is an individualized process and is subjective based on unique characteristics of the client. Nor is
   this process limited to activity in the single-funding account, but rather takes into account the
   available investment profile of the client, including information that may touch on other
   investments or holdings. There is no language in the suitability rule for an objective metric
   measure being the primary determining factor in a suitability analysis before a recommendation
   is made.
   Mr. Schulz in paragraph 118 recites some of the benefits of Asset Management Services
   conducting research, monitoring allocations, performance of securities, and performance of fund
   managers. The Plaintiff testified in her deposition that she understood that she would be
   receiving professional management, monitoring of the account, and rebalancing. She also
   testified that she was aware of the fee structure with the discount (1.25%) that Mr. Seale applied,
   and made the decision to invest in the Freedom Account Hybrid Portfolio. Mr. Schulz’s
   allegation that Ms. Nguyen was already receiving “rebalancing” is incorrect. Mr. Seale testified
   in his deposition that although he was making rebalancing recommendations for her brokerage
   account, Ms. Nguyen did not follow his advice and was not rebalancing her account.38
   Each of the services provided by the individual financial advisor (beyond the services that AMS
   provides as part of the Freedom program) are unique to the individual client. Some clients and
   financial advisors might elect to receive and perform, respectively, these individual services
   while others do not. There are services that are individually driven and may represent a value to
   the client versus the cost. A review of each Freedom Account client’s use of the additional
   services would need to be conducted on an individual basis and would not be representative of
   the experience of another member of the putative class. Similarly, due to the available
   discounting, clients paid a variety of fee percentages for their Freedom program, which would
   also have an impact if Mr. Schulz wanted to appropriately “weigh” Freedom’s services and
   benefits against its costs to that individual client.
   Under Mr. Schulz’s logic, a client should simply receive the additional services of the Freedom
   Account for no charge whatsoever, because either they provide no value, or it overly complicates
   his damages model. Such a conclusion - that such services should be received for free – is not in
   line with industry standards, or with the individual contracts that each and every purported class
   member entered into when opening his/her/its Freedom Account. The fees charged by Raymond
   James in the Freedom program both represent a value to the clients and are similar to those of
   other firms in the industry.



   38
        Seale Depo. p. 198:22-205:3.

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Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 90 of 97 PageID 5665
   CONFIDENTIAL - CONTAINS CONFIDENTIAL MATERIALS UNDER ¶ 3 OF THE PARTIES’ STIPULATED
   CONFIDENTIALITY AGREEMENT

   Mr. Schulz’s Report: IV. CLASS MEMBERS CAN BE IDENTIFIED BASED ON AN
   OBJECTIVE REVIEW OF RJA’S DATA. [Paragraphs 143-147]
   For the reasons stated above, class members cannot be identified based on an “objective” review
   of Raymond James’s data. In sum, Mr. Schulz’s self-created two-factor test for determining
   whether a Freedom Account is suitable is not supported by industry rules, standards, custom, or
   practice. Additionally, in order to identify whether a recommendation was made and, if at issue,
   whether the recommendation was supported by a reasonable basis that the Freedom Account was
   suitable, a finder of fact would have to review the circumstances of each and every member of
   the purported class, including review of documents and, where available, an interview or other
   testimony of the individual client and their financial advisor. Hence, contrary to Mr. Schulz’s
   statement, purported class members cannot be identified by simplistically using Mr. Schulz’s
   novel and unsupported two-factor metric.
   Mr. Schulz’s Report: V. CLASS MEMBERS’ DAMAGES CAN BE CALCULATED BASED
   ON AN ANALYSIS OF RJA’S DATA. [Paragraphs 148-155]
   For the reasons stated above, damages cannot be calculated based on an analysis of data alone, in
   a way that is consistent with industry rules, standards, custom, or practice. The damages model
   proposed by Mr. Schulz suffers from a variety of flaws, including speculation and a failure to
   treat individual class members consistently with their unique circumstances. Thus, Mr. Schulz’s
   proposed damages analysis / protocol – which lacks peer review, and which has no acceptance
   under industry standards, custom, or practice – lacks legitimacy, and cannot be the basis for
   calculating damages for purported class members.

                                             Conclusions

   Having considered all of the evidence I have reviewed in this case, my conclusions as expressed
   in my Expert Report remain unchanged. As expressed above, the conclusions contained in the
   Schulz Report are insufficiently supported due to the flawed assumptions and analysis contained
   therein.




                                                  21
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 91 of 97 PageID 5666
Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 92 of 97 PageID 5667




                                 EXHIBIT 1
                     Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 93 of 97 PageID 5668

CONFIDENTIAL                                              Nguyen v. Raymond James Associates, Inc.
                                                   Additional Facts and Data Considered in Rebuttal Report
Begin Bates                               End Bates                      Other Description
Portfolio Reviews
RJA_(NGUYEN)_041828                       RJA_(NGUYEN)_041841
RJA_(NGUYEN)_023609                       RJA_(NGUYEN)_023625
RJA_(NGUYEN)_012672                       RJA_(NGUYEN)_012696
Chart of Freedom Program Data (30(b)(6) Topic #6)
RJA_(NGUYEN)_059108                       RJA_(NGUYEN)_059109
Arthur Olsen's Report and Documents Cited Therein
                                                                         Expert Report of Arthur Olsen re Class Certification
RJA_(NGUYEN)_058468                       RJA_(NGUYEN)_058468
RJA_(NGUYEN)_058469                       RJA_(NGUYEN)_058469
RJA_(NGUYEN)_059060                       RJA_(NGUYEN)_059060
RJA_(NGUYEN)_059061                       RJA_(NGUYEN)_059061
RJA_(NGUYEN)_059062                       RJA_(NGUYEN)_059062
RJA_(NGUYEN)_059063                       RJA_(NGUYEN)_059063
RJA_(NGUYEN)_059108                       RJA_(NGUYEN)_059109
RJA_(NGUYEN)_059110
RJA_(NGUYEN)_059111
                                                                         Tab 120 Nguyen - 2021-05-25 Letter to counsel enclosing selected queries
Douglas J. Schulz's Report and Documents Cited Therein
                                                                         Report of Douglas J. Schulz re Class Certification
NGUYEN_0000403                            NGUYEN_0000405
NGUYEN_0000406                            NGUYEN_0000409
NGUYEN_0000410                            NGUYEN_0000428
NGUYEN_0000429                            NGUYEN_0000430
NGUYEN_0000431                            NGUYEN_0000439
NGUYEN_0000440                            NGUYEN_0000445
NGUYEN_0000446                            NGUYEN_0000448
NGUYEN_0000449                            NGUYEN_0000452
NGUYEN_0000453                            NGUYEN_0000456
NGUYEN_0000457                            NGUYEN_0000461
NGUYEN_0000462                            NGUYEN_0000464
NGUYEN_0000465                            NGUYEN_0000468
NGUYEN_0000914                            NGUYEN_0000966                 Edward Jones Statements
NGUYEN_000550                             NGUYEN_000590                  2015 Statements



                                                                         Page 1 of 5
                  Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 94 of 97 PageID 5669

CONFIDENTIAL                                  Nguyen v. Raymond James Associates, Inc.
                                       Additional Facts and Data Considered in Rebuttal Report
Begin Bates                     End Bates                    Other Description
NGUYEN_000591                   NGUYEN_000702                2016 Statements
NGUYEN_000703                   NGUYEN_000783                2017 Statements
NGUYEN_000784                   NGUYEN_000866                2018 Statements
NGUYEN_000871                   NGUYEN_000913                Trade Confirmations
NGUYEN_000914                   NGUYEN_000966
NGUYEN_002064                   NGUYEN_002065
RJA_(NGUYEN)_000001             RJA_(NGUYEN)_000043
RJA_(NGUYEN)_003637             RJA_(NGUYEN)_003645
RJA_(NGUYEN)_003846             RJA_(NGUYEN)_003897
RJA_(NGUYEN)_004286             RJA_(NGUYEN)_004550          IRA Statements
RJA_(NGUYEN)_006302             RJA_(NGUYEN)_006411
RJA_(NGUYEN)_010943             RJA_(NGUYEN)_010969
RJA_(NGUYEN)_010970             RJA_(NGUYEN)_011106
RJA_(NGUYEN)_012336             RJA_(NGUYEN)_012337
RJA_(NGUYEN)_014917             RJA_(NGUYEN)_015058
RJA_(NGUYEN)_015094             RJA_(NGUYEN)_015128
RJA_(NGUYEN)_019419             RJA_(NGUYEN)_019420
RJA_(NGUYEN)_019421             RJA_(NGUYEN)_019422
RJA_(NGUYEN)_019425             RJA_(NGUYEN)_019426
RJA_(NGUYEN)_019437             RJA_(NGUYEN)_019438
RJA_(NGUYEN)_019443             RJA_(NGUYEN)_019443
RJA_(NGUYEN)_019466             RJA_(NGUYEN)_019467
RJA_(NGUYEN)_019468             RJA_(NGUYEN)_019469
RJA_(NGUYEN)_019479             RJA_(NGUYEN)_019480
RJA_(NGUYEN)_019485             RJA_(NGUYEN)_019486
RJA_(NGUYEN)_019487             RJA_(NGUYEN)_019487
RJA_(NGUYEN)_019488             RJA_(NGUYEN)_019489
RJA_(NGUYEN)_019490             RJA_(NGUYEN)_019491
RJA_(NGUYEN)_019492             RJA_(NGUYEN)_019493
RJA_(NGUYEN)_019544             RJA_(NGUYEN)_019545
RJA_(NGUYEN)_019548             RJA_(NGUYEN)_019549
RJA_(NGUYEN)_019550             RJA_(NGUYEN)_019551
RJA_(NGUYEN)_019564             RJA_(NGUYEN)_019565
RJA_(NGUYEN)_019573             RJA_(NGUYEN)_019574



                                                             Page 2 of 5
                  Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 95 of 97 PageID 5670

CONFIDENTIAL                                  Nguyen v. Raymond James Associates, Inc.
                                       Additional Facts and Data Considered in Rebuttal Report
Begin Bates                     End Bates                    Other Description
RJA_(NGUYEN)_019620             RJA_(NGUYEN)_019622
RJA_(NGUYEN)_019623             RJA_(NGUYEN)_019625
RJA_(NGUYEN)_019637             RJA_(NGUYEN)_019638
RJA_(NGUYEN)_019645             RJA_(NGUYEN)_019646
RJA_(NGUYEN)_019647             RJA_(NGUYEN)_019648
RJA_(NGUYEN)_019651             RJA_(NGUYEN)_019652
RJA_(NGUYEN)_019653             RJA_(NGUYEN)_019655
RJA_(NGUYEN)_019664             RJA_(NGUYEN)_019665
RJA_(NGUYEN)_019686             RJA_(NGUYEN)_019688
RJA_(NGUYEN)_019691             RJA_(NGUYEN)_019692
RJA_(NGUYEN)_019699             RJA_(NGUYEN)_019701
RJA_(NGUYEN)_019783             RJA_(NGUYEN)_019785
RJA_(NGUYEN)_019922             RJA_(NGUYEN)_019922
RJA_(NGUYEN)_022052             RJA_(NGUYEN)_022057
RJA_(NGUYEN)_023498             RJA_(NGUYEN)_023529
RJA_(NGUYEN)_023593             RJA_(NGUYEN)_023596
RJA_(NGUYEN)_023597             RJA_(NGUYEN)_023597
RJA_(NGUYEN)_023853             RJA_(NGUYEN)_023853
RJA_(NGUYEN)_028991             RJA_(NGUYEN)_028993
RJA_(NGUYEN)_029336             RJA_(NGUYEN)_029351
RJA_(NGUYEN)_029388             RJA_(NGUYEN)_029399
RJA_(NGUYEN)_029784             RJA_(NGUYEN)_029785
RJA_(NGUYEN)_029809             RJA_(NGUYEN)_029823
RJA_(NGUYEN)_030201             RJA_(NGUYEN)_030208
RJA_(NGUYEN)_030368             RJA_(NGUYEN)_030375
RJA_(NGUYEN)_030794             RJA_(NGUYEN)_030795
RJA_(NGUYEN)_032013             RJA_(NGUYEN)_032165
RJA_(NGUYEN)_032177             RJA_(NGUYEN)_032193
RJA_(NGUYEN)_032715             RJA_(NGUYEN)_032715
RJA_(NGUYEN)_032716             RJA_(NGUYEN)_032717
RJA_(NGUYEN)_033116             RJA_(NGUYEN)_033121
RJA_(NGUYEN)_034643             RJA_(NGUYEN)_034644
RJA_(NGUYEN)_034658             RJA_(NGUYEN)_034658
RJA_(NGUYEN)_035050             RJA_(NGUYEN)_035054



                                                             Page 3 of 5
                  Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 96 of 97 PageID 5671

CONFIDENTIAL                                  Nguyen v. Raymond James Associates, Inc.
                                       Additional Facts and Data Considered in Rebuttal Report
Begin Bates                     End Bates                    Other Description
RJA_(NGUYEN)_035112             RJA_(NGUYEN)_035152
RJA_(NGUYEN)_036100             RJA_(NGUYEN)_036203
RJA_(NGUYEN)_040398             RJA_(NGUYEN)_040411
RJA_(NGUYEN)_040412             RJA_(NGUYEN)_040425
RJA_(NGUYEN)_040426             RJA_(NGUYEN)_040439
RJA_(NGUYEN)_040440             RJA_(NGUYEN)_040453
RJA_(NGUYEN)_040454             RJA_(NGUYEN)_040467
RJA_(NGUYEN)_040468             RJA_(NGUYEN)_040481
RJA_(NGUYEN)_040482             RJA_(NGUYEN)_040495
RJA_(NGUYEN)_040496             RJA_(NGUYEN)_040509
RJA_(NGUYEN)_040510             RJA_(NGUYEN)_040522
RJA_(NGUYEN)_040523             RJA_(NGUYEN)_040536
RJA_(NGUYEN)_040537             RJA_(NGUYEN)_040550
RJA_(NGUYEN)_041217             RJA_(NGUYEN)_041272
RJA_(NGUYEN)_043502             RJA_(NGUYEN)_043502
RJA_(NGUYEN)_044669             RJA_(NGUYEN)_044670
RJA_(NGUYEN)_044886             RJA_(NGUYEN)_044889
RJA_(NGUYEN)_046437             RJA_(NGUYEN)_046440
RJA_(NGUYEN)_058468
RJA_(NGUYEN)_058469
RJA_(NGUYEN)_059060
RJA_(NGUYEN)_059061
RJA_(NGUYEN)_059062
RJA_(NGUYEN)_059063
RJA_(NGUYEN)_059100             RJA_(NGUYEN)_059107
RJA_(NGUYEN)_059108             RJA_(NGUYEN)_059109
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                                                             Page 4 of 5
               Case 8:20-cv-00195-CEH-AAS Document 160-10 Filed 09/03/21 Page 97 of 97 PageID 5672

CONFIDENTIAL                                Nguyen v. Raymond James Associates, Inc.
                                     Additional Facts and Data Considered in Rebuttal Report
Begin Bates                  End Bates                     Other Description

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                                                           Management Investment Companies
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                                                           Page 5 of 5
